Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 1 of 50
                                                                                  1


     1                    UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
     2                         (FT. LAUDERDALE)
                          CASE NO. 0:21-CR-60020-WPD-5
     3

     4
         UNITED STATES OF AMERICA,               Miami, Florida
     5
                      PLAINTIFF,
     6                                           July 7, 2023
                VS.                              Thursday
     7
         M.D. JOSE SANTEIRO,
     8                                           Scheduled for 1:15 p.m.
                      DEFENDANT.                 1:15 p.m. to 2:15 p.m.
     9

   10                                            Pages 1 - 50
   11    ------------------------------------------------------------
   12
                                SENTENCING HEARING
   13

   14           BEFORE THE HONORABLE WILLIAM P. DIMITROULEAS
                         UNITED STATES DISTRICT JUDGE
   15

   16
         APPEARANCES:
   17

   18    FOR THE GOVERNMENT:          JAMIE DE BOER, AUSA
                                      JAMES V. HAYES, AUSA
   19                                 U.S. Department of Justice
                                      Criminal Division, Fraud Section
   20                                 1400 New York Avenue NW
                                      Bond Building, 8th Floor
   21                                 Washington, D.C. 20005
   22
                                      ANDREA SAVDIE, ESQ.
   23                                 U.S. Department of Justice
                                      12020 Miramar Parkway
   24                                 Miramar, Florida 33025
   25
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 2 of 50
                                                                                  2


     1   APPEARANCES (CONTINUED):
     2
         FOR THE DEFENDANT:           SABRINA D. VORA-PUGLISI, ESQ.
     3                                DIANNE ELIZABETH CARAMES, ESQ.
                                      Puglisi Law
     4                                40 N.W. 3rd Street - PH 1
                                      Miami, Florida 33128
     5

     6                                MARCOS BEATON, JR., ESQ.
                                      Beaton Law Firm
     7                                12925 S.W. 132 Street
                                      Suite 4
     8                                Miami, Florida 33186
     9

   10
         U.S. PROBATION OFFICER: REBECCA HILL
   11

   12

   13
         STENOGRAPHICALLY
   14    REPORTED BY:                 GLENDA M. POWERS, RPR, CRR, FPR
                                      Official "Relief" Court Reporter
   15                                 United States District Court
                                      400 North Miami Avenue
   16                                 Miami, Florida 33128
                                      Glenda_Powers@flsd.uscourts.gov
   17

   18

   19

   20

   21

   22

   23

   24

   25
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 3 of 50
                                                                                  3


     1              (Call to the order of the Court:)
     2              COURTROOM DEPUTY: All rise.
     3              United States District Court, Southern District of
     4   Florida; the Honorable William P. Dimitrouleas presiding.
     5              THE COURT: Please be seated.
     6              COURTROOM DEPUTY: Calling Case Number 21-CR-60020,
     7   United States of America versus Jose Santeiro.
     8              Will counsel announce their appearances for the record.
     9              MS. DE BOER: Good afternoon, Your Honor.
   10               Jamie de Boer and Jim Hayes and Andrea Savdie for the
   11    United States.
   12               MS. VORA-PUGLISI: Good morning -- or good afternoon,
   13    Your Honor. Sabrina Puglisi and Dianne Carames on behalf of
   14    Dr. Jose Santeiro.
   15               And I'm sorry to say, Mr. Beaton is just running a
   16    couple of minutes behind, but he will be joining us shortly.
   17               THE COURT: Do you want to wait?
   18               MS. VORA-PUGLISI: If you don't mind, because I believe
   19    he's the one -- I believe we have to handle the motions first,
   20    and he's the one.
   21               THE COURT: I was denying the motion for new trial.
   22               MS. VORA-PUGLISI: Very good, Judge, then we can
   23    proceed.
   24               THE COURT: All right. Dr. Santeiro's before the
   25    Court. He was found guilty of conspiracy to commit healthcare
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 4 of 50
                                                                                  4


     1   fraud and wire fraud and nine counts of -- excuse me, eight
     2   counts of healthcare fraud.
     3             I adjudicated him guilty, deferred sentencing and
     4   ordered a presentence investigation report that I have received
     5   and reviewed.
     6             Have counsel had an opportunity to review the
     7   presentence investigation report, Ms. De Boer?
     8             MS. DE BOER: Yes, Your Honor.
     9             THE COURT: Ms. Puglisi?
   10              MS. VORA-PUGLISI: Yes, Your Honor.
   11              THE COURT: Dr. Santeiro, have you read the presentence
   12    investigation report and discussed it with your lawyer?
   13              THE DEFENDANT: Yes, Your Honor.
   14              THE COURT: Any objection to the presentence
   15    investigation report from the Government?
   16              MS. DE BOER: Your Honor, I think the defense is
   17    correct, that there's a typo in paragraph one which states that
   18    Dr. Santeiro was the CEO of Compass and as the Court knows he
   19    was the medical director with both of those.
   20              So we would agree with that, but otherwise, no.
   21              THE COURT: All right, so I will sustain that
   22    objection.
   23              Ms. Puglisi?
   24              MS. VORA-PUGLISI: Judge, I have variance objections.
   25              Should I just start with my objection to paragraph 15?
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 5 of 50
                                                                                  5


     1             THE COURT: Okay.
     2             MS. VORA-PUGLISI: All right. As the Court understands
     3   Mr. -- or Dr. Santeiro was found guilty by a jury, but it was
     4   our position that he was not guilty and obviously we still feel
     5   strongly about the facts not having met the burden in this
     6   case, although, we, you know, do respect the decision of the
     7   jury.
     8             But having said that, we do object to paragraph 15,
     9   specifically, denying that Dr. Santeiro conspired to unlawfully
   10    enrich himself by (a) submitting and causing the submission of
   11    false and fraudulent claims to healthcare benefit programs via
   12    interstate wire; (b) concealing the submission of false and
   13    fraudulent claims to healthcare benefit programs;
   14    (c) concealing the receipt of the fraudulent proceeds;
   15    and (d) diverting the fraudulent proceeds for his personal use
   16    and benefit and the use and benefit of others in furtherance of
   17    the conspiracy.
   18              THE COURT: All right, so I'll overrule that objection.
   19              MS. VORA-PUGLISI: Objection to paragraph 18.
   20              This has to do with the over-prescription of
   21    medications, and we deny that he prescribed, caused to be
   22    prescribed, administered and caused to be administered,
   23    prescription medication and over-the-counter meds in quantities
   24    and combinations that grossly diverted from legitimate medical
   25    practice.
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 6 of 50
                                                                                  6


     1             As we know in this case there were two experts, they
     2   were differing experts; and even if the jury found
     3   Dr. Santeiro guilty, it doesn't mean that every allegation made
     4   by the Government suddenly is made true.
     5             In this case, specifically, we know the evidence showed
     6   Dr. Lieberman was the chief medical officer in charge at
     7   Compass Detox. He was the individual prescribing the comfort
     8   drinks. And with respect to the other medications, there
     9   was -- our doctor differed in the opinion of the Government's
   10    doctor as to any medications being over-prescribed.
   11              THE COURT: I'll overrule that objection.
   12              MS. VORA-PUGLISI: Objection to paragraph 19, similarly
   13    deny that he over-prescribed buprenorphine, and again,
   14    differing medical doctors in this case --
   15              (Mr. Beaton entered courtroom at 1:19 p.m.)
   16              MS. VORA-PUGLISI: -- provided evidence to that.
   17              THE COURT: Mr. Beaton is here; and I'll overrule that
   18    objection.
   19              MS. VORA-PUGLISI: Objection to paragraph 20 -- one
   20    moment, Judge, I just want to read it.
   21              (Brief pause in the proceedings.)
   22              MS. VORA-PUGLISI: Judge, we would argue that
   23    Dr. Santeiro did provide medical monitoring of the patients at
   24    WAR, that was the facility he was the attending physician; and
   25    with respect to Compass Detox, that was the province of
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 7 of 50
                                                                                  7


     1   Dr. Lieberman.
     2             THE COURT: I'll overrule that objection.
     3             MS. VORA-PUGLISI: Objection to paragraph 21.
     4             This has to do with false therapy notes. There was no
     5   evidence presented in the trial that Dr. Santeiro created or
     6   caused to be created any false therapy notes.
     7             He wasn't involved in the therapy. He didn't sign off
     8   on therapy, and there was no testimony by any witness,
     9   including Government witnesses, that said differently.
   10              THE COURT: Ms. De Boer, what's your position on that?
   11              MS. DE BOER: Your Honor, the Government presented
   12    several falsified patient charts that were signed by
   13    Dr. Santeiro, falsified in response to insurance audits.
   14              Those were, for example, Exhibit 1134, 1379, 1325-C
   15    and 167. In addition, I believe it's the last two substantive
   16    counts that the defendant was convicted of, are for false
   17    therapy billings.
   18              THE COURT: Okay, I will overrule that objection.
   19              MS. VORA-PUGLISI: Objection to paragraph 22.
   20              This has to do with the urine samples, Judge. And
   21    while Dr. Santeiro's name was used to order these labs, we were
   22    able to show that the IP address for those came from 0.0.0.O,
   23    which the Government did not establish came from Dr. Santeiro,
   24    but rather we understand to be auto-generated, and so we would
   25    say that Dr. Santeiro did not order urine drug samples which
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 8 of 50
                                                                                  8


     1   were medically unnecessary.
     2             THE COURT: I'll overrule that objection.
     3             MS. VORA-PUGLISI: Objection to paragraph 23.
     4             Judge, this has to do with Jeffrey Draesel, the
     5   chiropractor. Now, while the Government, I believe, presented
     6   evidence of this in the Markoviches' trial, it was -- not one
     7   piece of evidence was submitted in this case about chiropractic
     8   services.
     9             I believe this was probably added just because these
   10    paragraphs are usually used for all codefendants and was
   11    generated for the Markoviches, but there was nothing
   12    established at trial that Dr. Santeiro was associated with the
   13    chiropractic --
   14              THE COURT: Ms. De Boer?
   15              MS. VORA-PUGLISI: -- referrals.
   16              MS. DE BOER: That's fair, Your Honor, we did not
   17    present that evidence in this trial.
   18              THE COURT: So I'll sustain the objection to 23.
   19              MS. VORA-PUGLISI: Objection to paragraph 24.
   20              Judge, we would argue that Dr. Santeiro at no time
   21    submitted any fraudulent claims to insurance plans, no evidence
   22    that he reviewed the bills prior to their submission or knew
   23    how much or for what the services were billed.
   24              THE COURT: Okay, I'll overrule the objection.
   25              MS. VORA-PUGLISI: The next paragraph is 41, which I
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 9 of 50
                                                                                  9


     1   think kind of coincides right with the loss -- it has to do
     2   with the loss amount, Judge. And with respect to loss amount,
     3   I was going to let Mr. Beaton make that argument for the
     4   guideline calculation.
     5             THE COURT: Let me hear from the Government --
     6             MS. VORA-PUGLISI: Okay.
     7             THE COURT: -- as to what they think the loss amount
     8   should be consistent with my prior rulings in the codefendant
     9   cases.
   10              MS. DE BOER: Yes, Your Honor.
   11              So I think the starting point for calculating loss in
   12    this case would be the loss applied to Jonathan Markovich,
   13    because that was the loss that could be billed to insurance
   14    companies, whether it's from Compass, WAR, or the laboratories,
   15    on the basis of the fact that there was a medical director,
   16    there was a doctor overseeing this.
   17              And with respect to the labs, there was a doctor
   18    ordering these prescriptions or these urinalyses.
   19              So the Government just sort of calculated -- working
   20    backwards from that, the Court calculated a loss band for
   21    Jonathan Markovich as 3.5 million to 9.5 million. I believe
   22    the precise loss number that the Court would have calculated --
   23    although, I don't think the Court said this on the record --
   24    was 8.3 million.
   25              And the way that I get to that is because the
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 10 of 50
                                                                                 10


     1    Government had recommended a reduced loss amount for Jonathan
     2    Markovich of 83 million, roughly, and then 10 percent of that
     3    would be 8.3 million. There was no other number that was
     4    discussed in this case, that 10 percent of which gets to that
     5    loss band, and so I believe that's the precise loss number.
     6              So I believe that's the starting point for
     7    Dr. Santeiro's loss, because there is no false bill from
     8    Compass, there is no false bill from WAR, and there is no false
     9    laboratory billings without a Dr. Santeiro putting his
    10    signature and license up.
    11              That was the Government's theory of the case.
    12              The jury agreed with that theory and the jury found
    13    Dr. Santeiro guilty of every substantive count that Jonathan
    14    Markovich was also found guilty of, in terms of the healthcare
    15    fraud.
    16              I would also say, Your Honor, that the Court went to
    17    the loss band right below that for both Daniel Markovich and
    18    Dr. Lieberman. The reason for that is because they were only
    19    at Compass, not at WAR, the labs, so that's another reason why
    20    Dr. Santeiro has to be equivalent to Jonathan Markovich as a
    21    starting point, because he was involved and was central to all
    22    three. I believe that's the starting point for calculating
    23    loss in this case.
    24              Now, Dr. Santeiro -- and this is briefed in the
    25    Government's sentencing memorandum, so I won't go into it at
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 11 of 50
                                                                                 11


     1    length, and the Court has heard this in the presentation of the
     2    case -- that Dr. Santeiro was not just doing this at Compass
     3    and WAR, he was also doing it at least two other places,
     4    Florida Life and Future Now Detox.
     5              And the Government has presented examples throughout
     6    the trial and in its sentencing memorandum of fraudulent
     7    treatment provided at those two facilities and signed off on
     8    and authorized by Dr. Santeiro.
     9              So the Government would submit that the loss -- that we
    10    would add that loss amount, which gets to a total of a plus 22,
    11    and it's about 57.88 million when you add the Florida Life and
    12    Future Now loss to that amount.
    13              THE COURT: I'm not comfortable adding the losses from
    14    the other two facilities. So, at this point, the starting
    15    point, the loss would be between three-and-a-half and
    16    nine-and-half million; is that correct?
    17              MS. DE BOER: That's correct, Your Honor.
    18              THE COURT: So let me hear from Mr. Beaton.
    19              MR. BEATON: May I address the Court from here,
    20    Your Honor?
    21              THE COURT: Okay.
    22              MR. BEATON: So, the starting point is now between 3.5
    23    and 9.5 million. And as we said in our briefing yesterday, the
    24    Court discounted for significantly more culpable codefendants
    25    the loss amount by 90 percent.
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 12 of 50
                                                                                 12


     1              And that was in an effort to get to what the Court felt
     2    was a specific -- a sentence based on -- a loss amount based on
     3    specific reliable evidence. It doesn't have to be perfect. It
     4    doesn't have to be every single bill. It doesn't have to be
     5    that particularized, but it has to be based on a specific and
     6    reliable set of facts.
     7              So if we used that 10 percent starting point for people
     8    in two trials who came and admitted that they were actively
     9    misleading Dr. Santeiro, that they were behind Dr. Santeiro's
    10    back, for example, having kickback arrangements -- as Garnto
    11    and Markovich did -- getting patients high, pain patients; and
    12    then you had Dr. Lieberman who testified that he had been a
    13    respected, credentialed anesthesiologist in the community for,
    14    I think, over 30 years, and that some of Miami's best
    15    physicians relied on him because of his reputation and that he
    16    never gave them any reason not to.
    17              Dr. Lieberman also testified about a conversation he
    18    had with Dr. Santeiro where it was clear to everybody that
    19    Dr. Santeiro trusted Dr. Lieberman and said as much, he said,
    20    "I trust your judgment."
    21              And with all of these individualized factors that drove
    22    up the billing as to particular patients, subsets of patients,
    23    and to particular insurance companies, Dr. Santeiro falls below
    24    that. And the case that I cited to the Court yesterday, the
    25    Stein case, talks about two theories or two bases for loss
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 13 of 50
                                                                                 13


     1    amounts, and they're based in causation, factual causation and
     2    legal causation.
     3              And that Court discussed what was called an
     4    "intervening event" and, ultimately, it all came down to
     5    foreseeability. And we understand Pinkerton liability. We
     6    understand that foreseeability is imposed on coconspirators for
     7    acts that are reasonably foreseeable.
     8              If what the jury verdict means -- and I'm not saying it
     9    means one thing or the other -- to the extent that you take
    10    into account the jury verdict, if what the conviction means is
    11    that the jury found Dr. Santeiro guilty of falling asleep at
    12    the wheel, then -- and not being there and being absent and not
    13    paying close enough attention, then these deliberate acts that
    14    were meant to shield unforeseeable details from him should be
    15    excluded from the loss amount.
    16              THE COURT: I don't think that's what the jury found.
    17              If I thought the jury found that I would have granted
    18    relief post-judgment.
    19              MR. BEATON: So to the extent that there's a grave
    20    degree of culpability in the Court's eyes, certainly some of
    21    that should be eliminated from the loss amount that
    22    Dr. Santeiro's going to be held responsible for --
    23              THE COURT: I don't understand that argument.
    24              I can understand that the argument you're making might
    25    be pertinent to a variance or how I exercise discretion, but in
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 14 of 50
                                                                                 14


     1    just calculating loss, I don't understand how those arguments
     2    are relevant to adding up the numbers -- the bean counting --
     3    for the amount of loss.
     4               MR. BEATON: Because it -- to lump it in I think would
     5    assume that the conduct that was reasonably foreseeable
     6    included significantly more in the way of lies, obfuscation,
     7    patient-brokering, none of which Dr. Santeiro was charged with,
     8    none of which was proven that he was aware of -- or, more
     9    importantly, could have been aware of because there were active
    10    steps taken to cut him out.
    11               So, again, the Court discounted as to the other
    12    defendants by 90 percent, presumably because there were
    13    legitimate services and because patient care didn't fall to the
    14    fraud based on patient's care, which is the Government's
    15    theory, didn't fall to the 100 percent mark, so we're at 10
    16    percent.
    17               Now, take Dr. Santeiro's culpability, and because of
    18    that 10 percent, because of the things that were going on
    19    outside of his purview, what can he be held responsible for?
    20               Dr. Lieberman is the perfect example. This Court cut
    21    Dr. Lieberman out of the loss amount forward.
    22               Well, Dr. Lieberman was the a attending Compass, so if
    23    we're going to get particularized in that regard, as a starting
    24    point, I would say that Compass should be cut out for --
    25               THE COURT: I think both are responsible at Compass,
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 15 of 50
                                                                                 15


     1    and I'm comfortable interpreting the loss from Compass to both
     2    doctors.
     3               MR. BEATON: That's our argument.
     4               THE COURT: All right. So I'll go ahead and score, I
     5    guess, an 18-level enhancement; is that correct?
     6               MS. DE BOER: That's correct, Your Honor.
     7               THE COURT: The next objection, Ms. Puglisi?
     8               MS. VORA-PUGLISI: Yes, Your Honor.
     9               The next objection is with respect to 52, which has to
    10    do with special skill, and we would just argue that his special
    11    skill didn't significantly facilitate or conceal but are mostly
    12    focused on, really, the minimal role argument, which is, I
    13    think that now, Judge, if Dr. Santeiro is being held
    14    responsible for that 8.3 million dollar mark, it's the same as
    15    Jonathan Markovich.
    16               I think there's no one who would argue that he is at
    17    the same level of culpability as Jonathan Markovich, but yet
    18    this is where courts are able --
    19               THE COURT: Didn't I give Jonathan Markovich an
    20    enhanced level for his role?
    21               MS. DE BOER: Yes, a plus four, Your Honor.
    22               MS. VORA-PUGLISI: So I think, Judge, though, even
    23    still, this is where I think where we need to draw such a
    24    larger -- because there is such a large difference between
    25    their roles, so it needs to be even less culpable than that 8.3
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 16 of 50
                                                                                 16


     1    number. And the way to do that is by giving him either two to
     2    four levels less.
     3              And specifically, I cited in the commentary, it talks
     4    about, under 1B1.3 for loss that -- even if the loss under
     5    2B1.1, that greatly exceeds the defendant's personal gain from
     6    a fraud offense, or who had limited knowledge of the scope of
     7    the scheme may receive an adjustment under this guideline.
     8              And in this case, we know that Dr. Santeiro made
     9    approximate I think it was $267,000 out of this almost
    10    four-year period of time, and so he's being held culpable for
    11    8.3 million when, in reality, he made a much lesser number.
    12    And I mean you can go to the "or," it's not "and."
    13              It says, "or" whose participation in the scheme was
    14    limited. For example, serving as a nominee owner. I think
    15    this is a situation where he was a medical director but he was
    16    somewhat an absent medical director, he wasn't there, and we
    17    know that he wasn't part of these fraudulent conversations that
    18    the other individuals took part in.
    19              THE COURT: Ms. De Boer, what's the Government's
    20    position on minor role?
    21              MS. DE BOER: The Government opposes a reduction for
    22    minor role and agrees with probation that there should be an
    23    enhancement for use of special skill. That's consistent with
    24    the enhancement applied to Dr. Lieberman in his plea agreement,
    25    at his sentencing.
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 17 of 50
                                                                                 17


     1              And here, that's exactly what this type of enhancement
     2    was made for. Here we have a doctor who used his medical
     3    license to lend legitimacy to this scheme. That's the only way
     4    these bills can be passed off as legitimate, that's the only
     5    way a company like Compass can even become licensed in the
     6    State of Florida.
     7              And let's leave, you know, Compass aside, just WAR, in
     8    the lab billing, you have to have a doctor signing off on the
     9    laboratory requisitions, and here Dr. Santeiro signed the
    10    standing order that put all of that 19 million dollars of
    11    billing just for laboratory testing into motion.
    12              There's no Dr. Lieberman participating in that.
    13              And so I agree that there's a distinction between what
    14    Dr. Lieberman did and what Dr. Santeiro did, but in many ways
    15    -- and in some ways Dr. Santeiro's conduct was more expansive
    16    than Dr. Lieberman.
    17              And Ms. Puglisi is correct, Dr. Santeiro did not know
    18    about the kickbacks, neither did Dr. Lieberman.
    19              Dr. Santeiro did not make as much money as Jonathan
    20    Markovich, neither did Dr. Lieberman, who, in fact, if you
    21    factor out his investment, actually made less money than
    22    Dr. Santeiro from this.
    23              And Dr. Santeiro in many ways had more knowledge than
    24    even Dr. Lieberman or other people in the scheme because he saw
    25    the same patients at Florida Life and at Future Now.
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 18 of 50
                                                                                 18


     1              So, for example, he would know that patients tested
     2    clean upon discharge from Florida Life, only to be readmitted
     3    to detox at Compass when they didn't actually require that, and
     4    we presented several examples of that, both in our sentencing
     5    memorandum and at trial.
     6              THE COURT: Let me ask you, is it inconsistent to award
     7    a minor role and also enhance the special skills?
     8              MS. DE BOER: I would argue that it is in this case,
     9    Your Honor. This is not a minor role.
    10              He's the medical director.
    11              THE COURT: Well, I'm just asking, is it a rule of the
    12    guidelines that once you impose a special skill that you can't
    13    do a minor role?
    14              MS. DE BOER: I think those -- yeah, I've never seen
    15    that come up, Your Honor. I think that those are separate
    16    enhancements or, you know, in the case of minor role reduction.
    17    So I think, hypothetically, there could be a situation where --
    18              THE COURT: Well, it's kind of like the situation where
    19    someone can get acceptance of responsibility and also get an
    20    enhancement for obstruction of justice. You know, sometimes
    21    there are things that are contradictory, but they can be
    22    allowed under the guidelines, and absent some authority saying
    23    that I can't award a minor role if I'm going to find a special
    24    skill, then that's what I'm inclined to do is sustain the
    25    objection, award a two-level reduction for minor role, overrule
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 19 of 50
                                                                                 19


     1    the objection to special skill.
     2              MR. HAYES: Understanding that, I think the Court's
     3    inclined to do that, so I'm not going to belabor the point,
     4    Your Honor. I would say, Look, there's nothing in the
     5    guidelines that expressly says you cannot do that.
     6              And there are other instances in the guidelines where
     7    it says, for example, you can apply a special skill, along with
     8    some other enhancements. So there are -- it is -- you have the
     9    power to do that is what I'm saying. The guidelines don't
    10    prohibit you from it.
    11              What we would say is, in this case, the principle of
    12    it, if you don't have a medical director, none of this scheme
    13    can go forward at all, and that includes everything that
    14    Jonathan Markovich did, who no one is going to argue is the
    15    most culpable. In that sense --
    16              THE COURT: It's kind of like the mule cases where
    17    someone is bringing in drugs from another country, and under de
    18    Boer, I'm supposed to look at the mule get a minor role and the
    19    argument often made, without the mule bringing the drugs in the
    20    crime wouldn't happen, and I still give them the minor role.
    21              MR. HAYES: I agree, Your Honor, I say that's
    22    appreciatively different. I would say the analogy would
    23    actually be without someone creating the cocaine in the first
    24    place, there can't be a mule, because it's not simply
    25    Dr. Santeiro's just a mule, he has to be a medical director
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 20 of 50
                                                                                 20


     1    that authorizes everything; not a single insurance claim would
     2    have been paid once because no licensing would have happened
     3    with the state without a medical director.
     4              So he's the sina qua non of this entire conspiracy.
     5    That's the way it is. He knew that in Future Now and Florida
     6    Life, to a lesser extent to one of them, so I don't think the
     7    analogy holds because, principally, without him, the crime
     8    couldn't exist in the first place. Therefore, the Court has
     9    the power to do it, if Congress awards the number of role in
    10    his conduct lesser, especially in terms of the kickbacks.
    11              We're not saying he isn't Jonathan Markovich, but we
    12    think the plus four builds into that. Jonathan Markovich is
    13    plus four now. Dr. Santeiro is at zero. We're not asking for
    14    an enhanced thing because of his role because he was the
    15    medical director -- even though I think principally that we
    16    could have -- what we're saying is the four-point difference
    17    between Dr. Markovich and Dr. Santeiro, that accounts for the
    18    difference the Court is looking at; and to take him two points
    19    down for a minor role, we think, given his necessity of this
    20    type of scheme, which is special to this type of scheme and
    21    this licensing regimen, it just can't happen.
    22              That's all I'll say about that, Your Honor, for the
    23    Government.
    24              THE COURT: All right, I think you make a good
    25    argument. I think that's a close issue. I will exercise
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 21 of 50
                                                                                 21


     1    discretion and award a two-level reduction for minor role,
     2    while at the same time overrule the objection to special skill.
     3              And Ms. Puglisi, your next argument.
     4              MS. VORA-PUGLISI: Judge, paragraph 53.
     5              This again has to do with Dr. Draesel, the
     6    chiropractor. Dr. Santeiro didn't make any referrals, there
     7    was no evidence presented at trial to that.
     8              THE COURT: Ms. De Boer?
     9              MS. DE BOER: Yes, the United States did not present
    10    evidence at this trial as to the chiropractic claim.
    11              THE COURT: So I'll sustain the objection to 53.
    12              MS. VORA-PUGLISI: Judge, Your Honor already ruled with
    13    respect to paragraph 68 on loss amount.
    14              Paragraph 69, we would ask the Court to not -- that
    15    Dr. Santeiro did not know or should not have known that the
    16    victim of the offense was a vulnerable victim.
    17              THE COURT: I'll overrule that objection.
    18              MS. VORA-PUGLISI: And objection to paragraph 70,
    19    Your Honor already ruled on that.
    20              And with respect to clarification to financial
    21    conditions, probation did, in fact, address that in the
    22    addendum. So that would conclude the defense's objections.
    23              THE COURT: So, do we wind up with an offense level 27,
    24    criminal history category 1?
    25              MS. DE BOER: Yes, Your Honor.
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 22 of 50
                                                                                 22


     1              MS. VORA-PUGLISI: Yes, Your Honor.
     2              THE COURT: The range is 70 to 87 months?
     3              MS. DE BOER: That's correct, Your Honor.
     4              MS. VORA-PUGLISI: Yes, Your Honor.
     5              THE COURT: What's the Government's position on
     6    forfeiture?
     7              MS. DE BOER: Your Honor, the Government would base
     8    forfeiture based on the defendant's salary from Compass and
     9    WAR, which was $267,000 -- $267,041, so -- and I think the
    10    Court took 10 percent for Jonathan and Daniel Markovich, so
    11    then we would do the same here, just to be consistent.
    12              So that would be 2,670.41.
    13              THE COURT: Wouldn't it be 26,000?
    14              MS. DE BOER: 26,000, I'm sorry. $26,704.10.
    15              THE COURT: Any further argument on the forfeiture,
    16    Ms. Puglisi?
    17              MR. BEATON: Your Honor, as to forfeiture, the
    18    defense's position is twofold.
    19              I think, as the Court recalls, with regards to the
    20    forfeiture allegations -- and I don't have the indictment at my
    21    fingertips -- that amount was specifically not alleged.
    22              And number two, Dr. Santeiro's entitled under the rules
    23    to a jury determination of forfeiture.
    24              THE COURT: Didn't he waive the forfeiture at the
    25    trial?
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 23 of 50
                                                                                 23


     1              MS. DE BOER: Yes, Your Honor. We waived a jury trial
     2    because our position is that a jury is not required to impose a
     3    forfeiture money judgment.
     4              We're not seeking to seize property.
     5              THE COURT: Maybe demonstratively you could do the
     6    forfeiture; is that what you were saying?
     7              MS. DE BOER: Well, I think the Court would enter a
     8    forfeiture money judgment.
     9              MR. HAYES: That's correct, Your Honor.
    10              THE COURT: Why would I do that if I didn't get the
    11    verdict from the jury?
    12              MR. HAYES: If it's a substitute money judgment, Your
    13    Honor, which is what this is because we're not seeking a
    14    specific asset because, as Mr. Beaton pointed out, it wasn't
    15    alleged, so if there is no specific asset alleged in the
    16    indictment there is no right to a jury trial, so the Court can
    17    do that after a separate forfeiture hearing. You don't need
    18    the jury verdict. In fact, they're not entitled to it, meaning
    19    the jury.
    20              THE COURT: I guess -- my recollection is I asked
    21    everybody if we were going to have a separate forfeiture and
    22    mini trial with the jury, and the response I got was that it
    23    wasn't needed, but I don't know that it was clear to me that it
    24    wasn't needed so that you could come back in front of me at
    25    sentencing and ask for it, so I'm going to deny the request for
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 24 of 50
                                                                                 24


     1    forfeiture.
     2              What's the Government's position on restitution?
     3              MS. DE BOER: The Government's position is that
     4    restitution should be the same as for Jonathan Markovich, so
     5    that would put us at 2,122,500.
     6              THE COURT: And what's the defense position on the
     7    amount of restitution?
     8              MR. BEATON: Judge, the law is clear that under the
     9    Victim's Rights Act that restitution is calculated in parallel
    10    with loss, so to the extent the Court has made loss
    11    determinations, that's how that calculation would work.
    12              THE COURT: All right. So that's it on the restitution
    13    that I'll order. I know in the other cases there were private
    14    requests for restitution. Is that being requested today?
    15              MS. DE BOER: I don't believe so, Your Honor.
    16              THE COURT: And is there any legal cause to show why
    17    sentence should not be imposed?
    18              MS. VORA-PUGLISI: No, Your Honor.
    19              THE COURT: Anything you want to say, Dr. Santeiro,
    20    before I impose sentence?
    21              MS. VORA-PUGLISI: Yes, Judge. We have his daughter
    22    who would like to speak on behalf of the family, that's
    23    Dr. Janine Santeiro.
    24              THE COURT: Okay.
    25              DR. JANINE SANTEIRO: Hello, Your Honor.
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 25 of 50
                                                                                 25


     1              My name is Janine Santeiro. I am Jose Santeiro's
     2    daughter, a practicing dentist in Port Charlotte, Florida, and
     3    I'm now mother to a beautiful six-month old baby girl named
     4    Sianna.
     5              Your Honor, I appreciate your opportunity today to
     6    speak on behalf of my family and offer some insight into who my
     7    father is. I will try briefly to summarize how exceptional he
     8    is. I wish with all my heart that you could understand the man
     9    that Jose Santeiro is.
    10              He's a strong, hard-working, loving, generous and
    11    selfless man. He has been a devoted father, a dutiful son, a
    12    loving husband, and a dedicated professional who has spent his
    13    life helpings others. He taught me by example how to live a
    14    noble and moral life.
    15              As a father, he instilled in us a strong sense of
    16    family values. Our childhood revolved around spending time
    17    with family, including grandparents, aunts, uncles, and
    18    cousins, many who you see here today.
    19              Although we did not live an extravagant lifestyle, my
    20    memories are filled with moments of joy, laughter, and
    21    happiness. Simple pleasures were at the beach watching him at
    22    spear fishing competitions and family dinners, those were our
    23    pastimes.
    24              Our unity continues even today. I am blessed to be
    25    able to have him as a father and now as an amazing grandfather.
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 26 of 50
                                                                                 26


     1              To the two baby girls, my niece and my daughter, they
     2    were born 23 hours apart and I am now able to witness how much
     3    love he has for them already in just a short time.
     4              Nothing would mean more in the world to me having my
     5    father present in my baby's life and my niece's life, but
     6    personally he supported and encouraged me throughout my own
     7    journey to become a medical professional.
     8              When I first entered dental school at Tuft's University
     9    in Massachusetts my father was also working for the Department
    10    of Corrections, and without asking he welcomed me back home
    11    with open arms. And, in fact, I was not able to make my
    12    payments for my monthly student loans. My father willingly and
    13    financially helped me so I would not go into default.
    14              He has continued to choose family first, even living
    15    five doors from his parents during their final years so that he
    16    could care for them, as they could no longer care for
    17    themselves. He could have put them in a nursing home and
    18    passed off the responsibility onto others.
    19              Instead, my hard-working father chose the most caring
    20    and empathetic option, living a couple houses down from them so
    21    they can enjoy the end of their lives with the utmost dignity
    22    and comfort. He and my mother would visit them multiple times
    23    per day, bringing them food, keeping them company, assisting
    24    them in their daily needs.
    25              Similarly, he took in my maternal grandmother now,
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 27 of 50
                                                                                 27


     1    five years ago due to her rapidly progressing Alzheimer's
     2    disease, to ensure that he and my mother could care for her
     3    personally. Her dementia is so severe now that she cannot
     4    recognize us as family. Caring for her has been a very
     5    difficult task, however, he has chosen to give her the best
     6    care at home -- not the easiest care, to put her in a facility.
     7              But this generosity does not extend to family only.
     8    When I was 11 years old my father gave me a great example. He
     9    took in a 10-year-old girl named Brittany. Her mother was a
    10    friend of the family and she did not have the means to provide
    11    a home for her.
    12              My parents, once they were informed of this,
    13    immediately took care of Brittany, brought her into our house,
    14    placed her in my room and told me, "treat her like your
    15    sister." My parents realized that Brittany had a love for the
    16    ocean, and so they nurtured her interests as best as they
    17    could. It had a lasting impression on her, and now she is a
    18    marine operations technician for the National Oceanic and
    19    Atmospheric Administration.
    20              When my parents hadn't heard from her mother private
    21    school and even inquired into legally adopting her. These were
    22    not people that would pass by helping a young child or anyone.
    23    My father protected Brittany from her circumstances, but
    24    fortunately my parents were able to support Brittany's mother
    25    and able to get her back on her feet. We lovingly refer to her
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 28 of 50
                                                                                 28


     1    as our cousin, despite not having any blood relation to her.
     2              Our parents taught us supreme values and lessons by
     3    showcasing their own relationship. We've always been exposed
     4    to my parents affections towards each other, even after
     5    39 years of marriage, you can see the spark is still there.
     6              But there's so much more to their relationship.
     7    They're best friends, they're perfect partners for each other,
     8    they support each other no matter what.
     9              While this legal process brings so much strife to our
    10    families, I have seen them overcome this over the adversity by
    11    standing strong together. That's a rarity nowadays, two people
    12    who love each other so deeply, who are so loyal and so devoted
    13    to each other, they're true soulmates and inseparable.
    14              As an adult, I greatly appreciate this bond. I've
    15    emulated it in my own relationship with my husband and so has
    16    my brother and his wife. I am fortunate to share a love for
    17    medicine with my father.
    18              It's one of the elements that bonds us very closely.
    19              I hold my father in high esteem as a medical
    20    professional over the years. I've had firsthand seen, as he's
    21    treated patients with genuine care and respect. He has not
    22    only been a good doctor, but also a benevolent doctor.
    23              I've watched as my father treated friends and family
    24    for free any hour of the day as they beck and called. I've
    25    seen him do likewise for patients who could not afford help or
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 29 of 50
                                                                                 29


     1    patients that were too uncomfortable or embarrassed to go see a
     2    psychiatrist.
     3               This is not common practice, as you know, doctors do
     4    not do this regularly. In my own career, I tried to emulate my
     5    father in providing pro bono dental care to veterans, the
     6    underprivileged and the homeless. I attribute this wholly to
     7    him. I thank my father for installing these important values
     8    of service towards others, and that he has given my career more
     9    purpose.
    10               My father genuinely cares for people and about people.
    11               He gives of himself without question, without asking
    12    anything in return. He even applies his sense of empathy to
    13    general business. My father rents out several residences.
    14    These properties are to immigrant families. Some units he has
    15    never raised the price of rent and only recently did he have to
    16    raise on a couple of them to the tone of $200.
    17               He refuses to raise rent to market value, which is far
    18    more than $2,000 per month, but because he worries about how it
    19    will impact his renters who live paycheck to paycheck, he will
    20    not.
    21               Your Honor, my father is one of the humblest persons
    22    you could ever meet. He and my mother do not own fancy
    23    clothes, fancy cars, or jewelry. My father does not chose
    24    friends based on material wealth or what kind of favors they
    25    may offer him. No, in fact, he loves fishing and most of the
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 30 of 50
                                                                                 30


     1    people he spends time with are the salt of the earth,
     2    blue-collar workers and fishermen.
     3              Many of them immigrants, he does not ask or care what
     4    they do for a living. He enjoys their company. He knows
     5    they're good people and they share pastimes. He judges people
     6    by who they are and their character solely.
     7              My father has been a shining example of a man grounded
     8    in faith and backed by his religious beliefs. My parents have
     9    been regulars at church throughout our lives. They participate
    10    in Bible studies and have provided my brother and I with a
    11    solid foundation, always choosing right over wrong, no
    12    questions asked.
    13              Now, as a parent myself, I can only strive to uphold a
    14    fraction of what he is, and I would like to do so for my baby
    15    girl as well. I understand that the jury found my father
    16    guilty. I do not contest this. But nothing about this process
    17    will ever change my opinion of him and how great of a man he
    18    is. I look up to him. I respect him. I will consider myself
    19    successful if I could live a life as he has, because I've seen
    20    firsthand how he has helped so many people and changed their
    21    lives for the better.
    22              I pray that Your Honor can understand more than the
    23    numbers on the sentencing guidelines. I hope that Your Honor
    24    can see my father for who he is, even under these difficult
    25    circumstances. While my father has been found guilty of a
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 31 of 50
                                                                                 31


     1    crime he's no criminal and society is a much better place with
     2    him.
     3              Your Honor, I'd like to thank you again today for
     4    allowing me the opportunity to tell you just how special my dad
     5    is. Thank you, and thank you, Court.
     6              THE COURT: I appreciate you being here today.
     7              DR. JANINE SANTEIRO: Thank you, sir.
     8              MS. VORA-PUGLISI: Judge, as you saw from my pleadings,
     9    I'm asking for home confinement, and I know that's a big ask.
    10    In fact, in over 20 years I've never asked for home confinement
    11    after losing in a jury trial.
    12              And while I don't agree with the decision of the jury,
    13    I do respect it, because I respect the system of justice that
    14    we have in this country, it is our foundation.
    15              But Your Honor has the ability -- you have the power to
    16    be able to fashion a sentence that is just and fair; and after
    17    considering the guidelines, it is just one thing that you have
    18    to consider, and there are other factors, as the Court knows,
    19    but two of those factors I think are important in this case,
    20    and it is what deems a substantial variance sufficient.
    21              The first is the history and characteristics, and you
    22    saw from all the letters that were filed, you can see the type
    23    of person that Dr. Santeiro is. He is a giving person. He's a
    24    simple person. He would rather be hunting and fishing and, in
    25    fact, I will just point out, Your Honor, he is an avid hunter,
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 32 of 50
                                                                                 32


     1    he's loved to travel, and this conviction will preclude him
     2    from doing that in the future, something that he greatly loves
     3    to do.
     4              He wrote a letter to the Court -- and again, I will
     5    tell you, I have never actually presented a letter that my
     6    client had written after a sentencing. I didn't ask him to
     7    write that letter, in fact, he gave it to me -- and it's a long
     8    letter, I read the whole thing and I thought, wow, you know,
     9    just to be able to see the kind of life he's led, I felt really
    10    showed the type of person he was, but he still doesn't like to
    11    talk about himself and the things that he does.
    12              It was not until I was able to receive those letters
    13    that I saw who he really is, which is not the greedy individual
    14    that the Government has painted. I think they said in their
    15    memo, this greed and indifference to human suffering drives
    16    these schemes.
    17              Jose is not a greedy individual. As you see, he made
    18    over $300,000 in the Department of Corrections, a job that --
    19    you know, Your Honor was in the state court system, you
    20    understand having been a public defender and practicing in the
    21    state court system, the defendants that go to prison are not
    22    the same type of defendants you get in the federal system, and
    23    oftentimes they're mentally ill, sometimes severely mentally
    24    ill, and to have a job where you are treating these
    25    individuals, you know, it's a tough job and it takes a toll on
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 33 of 50
                                                                                 33


     1    you, but he could have made more money in private practice, but
     2    he choose to work in a public sector for many years.
     3              And then after that when he came -- he could have
     4    earned more money being a medical director, but he didn't ask
     5    for more. He didn't once ask for a raise. He was happy with
     6    making less than $300,000 in about four years, and even with
     7    the other facilities he was a medical director.
     8              We heard about how he's donated money anonymously to
     9    people, how he's taken people in his home, how he's taken care
    10    of his parents and his mother-in-law, and especially how he
    11    helps the people who rent his properties by not increasing the
    12    rent when he could. Those are not actions or characteristics
    13    of a greedy individual.
    14              Secondly, Judge, the facts and circumstances of the
    15    case, I will not belabor them because Your Honor sat through a
    16    trial and heard them all, but I find it shocking to me that we
    17    heard not one witness testify that they were part of
    18    conversations where he knew what was going on at this place,
    19    that he was part of this fraud scheme, that he understood it.
    20              They didn't even have evidence that he actually gave
    21    his credentials over, so, you know, I would ask the Court to
    22    take all of these things into consideration and fashion a
    23    sentence that is just and fair; and again, I know I'm asking
    24    for a lot, but I do believe when you look at the sentences
    25    given to the other individuals based on their circumstance, a
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 34 of 50
                                                                                 34


     1    sentence of home confinement is just and fair.
     2              THE COURT: Anything you want to say, Dr. Santeiro?
     3              THE DEFENDANT: Hi, Your Honor. You know, I'm 62 years
     4    old, been married for 40 years, never been in trouble in my
     5    life, and I'm no danger to society. I'm no risk to anybody.
     6              I worked since I was 14 years old, and I mean the
     7    people I work for got rich while I was getting paid less than
     8    the counselors and the nurses and, nonetheless, I was found
     9    guilty. I have no money to continue fighting this, so I ask
    10    for mercy on the sentencing phase. Thank you.
    11              THE COURT: What's the Government's position?
    12              Ms. De Boer: Thank you, Your Honor.
    13              The Government is not going to belabor all of the facts
    14    that the Court has heard for many weeks in the course of two
    15    different trials and over the course of significant briefing on
    16    multiple subsequent motions in this case.
    17              So the Court is faced with the challenging decision of
    18    balancing the severity of the crime that the defendant did, in
    19    fact, commit with what the defendant didn't do and what the
    20    evidence showed the defendant was not involved in; and the
    21    Government readily admits that this defendant was not involved
    22    in every aspect of this scheme, and that he is not as culpable
    23    as some others in this scheme.
    24              That said, he is one of these people who make this
    25    scheme possible, and without folks like the defendant, without
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 35 of 50
                                                                                 35


     1    doctors with these type of specialties willing to put their
     2    licenses on these business, willing to sign off on fraudulent
     3    treatment that is billed for millions and millions of dollars,
     4    these schemes don't happen.
     5              And it's not just about the money that was stolen.
     6    It's about the lives that are ruined when treatment is
     7    fraudulent or not even rendered, as in the case of some of the
     8    treatments that the Government presented in this case.
     9              I'm not going to go in-depth in the facts because the
    10    Court knows the facts as well as anybody in this room. The
    11    guideline calculation fairly counts for both the severity of
    12    the crime and for what the defendant did not do. The
    13    substantial reduction in loss, the reduction for minor role,
    14    and he is the only defendant to receive this -- even Elon
    15    Brashey (phonetic), the patient recruiter, who was also a
    16    patient, who was a victim of Dr. Santeiro, didn't get the
    17    reduction in his case, and I realize that was in front of a
    18    different court, but that wasn't in Mario Kustura's agreement
    19    either.
    20              So that reduction -- 90 percent reduction and loss
    21    fairly accounts for this defendant's role in this scheme,
    22    therefore, the Government would recommend a sentence at the low
    23    end of the guidelines, which is 70 months in this case. That's
    24    a further reduction, 17 months off the top end of the
    25    guidelines, which accounts for any other factors that might
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 36 of 50
                                                                                 36


     1    weigh in favor of a lower sentence in this case.
     2              The Government reminds the Court, as the Court knows,
     3    that it was not just Compass and WAR, it was also Florida Life
     4    and Future Now. Without a doctor willing to sell his license
     5    across this district, these types of schemes, the Florida
     6    shuffle simply does not exist, and the Court ought to fashion a
     7    sentence that not only deals with the facts and circumstances
     8    of this case but also deters other professionals, other doctors
     9    from engaging in further schemes that deplete healthcare
    10    resources and ruin the lives of patients seeking addiction
    11    treatment. Thank you, Your Honor.
    12              THE COURT: Anything further before I impose sentence?
    13              MR. BEATON: Just very briefly, Your Honor.
    14              So one of the factors that the Court has to consider is
    15    it knows the history and characteristics of the defendant, and
    16    Judge Rakoff from the Southern District of New York very
    17    eloquently said that if a man is ever to receive credit for the
    18    good that he's done in his life against immediate misconduct,
    19    it is no more appropriate a time than at his sentencing when
    20    his life hangs in the balance.
    21              And in this case, as the Government has said, he set
    22    some things into motion that he has to now live with as a
    23    convicted felon, who was convicted by the jury. But the other
    24    things he set in motion are behind us. They're a dentist and a
    25    mother and a little girl that he took in and all the other
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 37 of 50
                                                                                 37


     1    things he did.
     2              So I ask that in weighing the conviction and the
     3    misconduct here that the Court consider the other things that
     4    this man set into motion.
     5              THE COURT: All right. Having considering the
     6    sentencing guidelines, having considered the facts in 18
     7    United States Code, Section 3553(a), it's up to the Court to
     8    determine what a reasonable and sufficient sentence is.
     9              And I find that Dr. Santeiro has a low chance of
    10    recidivism, I think that's a mitigating circumstance.
    11              He's been charitable in his life, I think that's a
    12    mitigating circumstance.
    13              The Court takes into account the sentences that were
    14    imposed on the other defendants in the case. It considers
    15    similarly situated other cases so that the Court will try to
    16    insure that it imposes a sentence that is not disparate with
    17    other sentences.
    18              The Court gives great weight to family and community
    19    support that Dr. Santeiro has.
    20              But the Court also agrees with the Government that but
    21    for a doctor utilizing his license these types of facilities
    22    wouldn't be possible. And I've been sentencing doctors for a
    23    long time, whether it was the pill mills that the doctors were
    24    allowing their license to be used to, basically, push drugs on
    25    drug addicts coming from Kentucky and all over the country, or
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 38 of 50
                                                                                 38


     1    other fraudulent facilities, it seems that doctors sometimes
     2    are susceptible to the temptation of allowing other individuals
     3    to utilize their name and their license to commit pecuniary
     4    gain, and I think that's what Dr. Santeiro did in this case,
     5    and the Court needs to impose a sentence that promotes respect
     6    for the law, acts as a deterrent, and home confinement, it
     7    doesn't satisfy those goals.
     8              So when I weigh the aggravating and mitigating
     9    circumstances, it's up to the Court to determine what a fair
    10    and just sentence is.
    11              It will be the judgment of Court and sentence of law
    12    that Dr. Santeiro be sentenced to 54 months in prison, on all
    13    nine counts to run concurrent.
    14              Upon his release from prison, I place him on three
    15    years of supervised release, on all nine counts to run
    16    concurrent.
    17              While on supervised release he shall not commit any
    18    crimes; he shall be prohibited from possessing a firearm, or
    19    other dangerous device; he shall not possess any controlled
    20    substances; he shall comply with the standard conditions of
    21    supervised release, including the special condition that he pay
    22    $2,122,500 joint and several liability restitution.
    23              I find that he is able a pay a fine. I impose a
    24    $25,000 fine and a $900 special assessment and know that -- and
    25    order that any unpaid restitution, fine, or special assessment
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 39 of 50
                                                                                 39


     1    be paid during the period of the supervised release.
     2              If he works in a Unicore job while in prison,
     3    50 percent of his wages earned must go towards his financial
     4    obligations. If he doesn't work in a Unicore job, then he must
     5    pay $25 per quarter towards his financial obligations.
     6              Upon his release from prison, I order that he pay 10
     7    percent of his monthly gross earnings towards his financial
     8    obligations, unless and until the Court may alter that payment
     9    schedule.
    10              While on supervised release I order that he provide
    11    complete access to his financial information to his probation
    12    officer. I order that he do not apply or solicit or to incur
    13    any further debt without first obtaining written permission
    14    from his probation officer.
    15              I order that he not own, operate, or act as a
    16    consultant or be employed in any manner in any healthcare
    17    industry without prior approval from the Court.
    18              I order that upon request that he relinquish any
    19    medical license that he has.
    20              I order that he obtain prior written approval from the
    21    Court before entering into any self-employment.
    22              Dr. Santeiro, it's my duty to inform you that you have
    23    14 days within which to appeal the judgment and the sentence of
    24    this Court. Should you desire to appeal and be without funds
    25    with which to prosecute an appeal an attorney will be appointed
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 40 of 50
                                                                                 40


     1    to represent you in connection with that appeal.
     2              Should you fail to appeal within that 14-day period,
     3    it will constitute a waiver of your right to appeal.
     4              Also, it's my duty to elicit from counsel for all
     5    parties fully articulated objections to the Court's findings of
     6    fact and conclusions of law that's announced at the sentencing
     7    hearing, and further elicit any objections any party parties
     8    may have to the manner in which the sentence was imposed in
     9    this case.
    10              Are there any objections from the Government?
    11              MS. DE BOER: No, Your Honor.
    12              THE COURT: Ms. Puglisi?
    13              MS. VORA-PUGLISI: Judge, we would just object to the
    14    Court's denial of our objections and as to any motions that
    15    were previously filed.
    16              THE COURT: All right. My rulings will be the same.
    17              The Marshal will execute the sentence of the Court.
    18    You'll need to go with the Marshal now.
    19              Good luck to you, Dr. Santeiro.
    20              MS. VORA-PUGLISI: Judge, can we do a recommendation
    21    that he serve his sentence at Pensacola Camp?
    22              THE COURT: I will recommend the Pensacola Camp,
    23    realizing that recommendation is persuasive, not controlling,
    24    on the Bureau of Prisons, but I make it for whatever it's
    25    worth.
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 41 of 50
                                                                                 41


     1              Good luck to you, Dr. Santeiro, and I appreciate
     2    everybody being here today, and we'll be in recess.
     3              MR. HAYES: Thank you, Your Honor.
     4              COURTROOM DEPUTY: All rise.
     5              (Proceedings concluded at 2:15 p.m.)
     6

     7

     8

     9

    10

    11

    12                           C E R T I F I C A T E
    13
                     I hereby certify that the foregoing is an
    14
                    accurate transcription of the
    15
                    proceedings in the above-entitled matter.
    16

    17              October 13th, 2023
    18
                                            S/Glenda M. Powers
    19
                                            GLENDA M. POWERS, RPR, CRR, FPR
    20                                      United States District Court
                                            400 North Miami Avenue
    21                                      Miami, Florida 33128
                                            glenda_powers@flsd.uscourts.gov
    22

    23

    24

    25
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 42 of 50
                                                                            42


                $              23 [3] - 8:3, 8:18, 26:2              A               ahead [1] - 15:4          arrangements [1] -
                               24 [1] - 8:19                                         allegation [1] - 6:3       12:10
    $2,000 [1] - 29:18         26,000 [2] - 22:13,        ability [1] - 31:15        allegations [1] - 22:20   articulated [1] - 40:5
    $2,122,500 [1] - 38:22      22:14                     able [11] - 7:22, 15:18,   alleged [3] - 22:21,      aside [1] - 17:7
    $200 [1] - 29:16           27 [1] - 21:23              25:25, 26:2, 26:11,        23:15                    asleep [1] - 13:11
    $25 [1] - 39:5             2:15 [2] - 1:8, 41:5        27:24, 27:25, 31:16,      allowed [1] - 18:22       aspect [1] - 34:22
    $25,000 [1] - 38:24        2B1.1 [1] - 16:5            32:9, 32:12, 38:23        allowing [3] - 31:4,      assessment [2] -
    $26,704.10 [1] - 22:14                                above-entitled [1] -        37:24, 38:2               38:24, 38:25
    $267,000 [2] - 16:9,                   3               41:15                     almost [1] - 16:9         asset [2] - 23:14,
     22:9                                                 absent [3] - 13:12,        alter [1] - 39:8           23:15
    $267,041 [1] - 22:9        3.5 [2] - 9:21, 11:22       16:16, 18:22              Alzheimer's [1] - 27:1    assisting [1] - 26:23
    $300,000 [2] - 32:18,      30 [1] - 12:14             acceptance [1] - 18:19     amazing [1] - 25:25       associated [1] - 8:12
     33:6                      33025 [1] - 1:24           access [1] - 39:11         AMERICA [1] - 1:4         assume [1] - 14:5
    $900 [1] - 38:24           33128 [3] - 2:4, 2:16,     account [2] - 13:10,       America [1] - 3:7         Atmospheric [1] -
                                41:21                      37:13                     amount [15] - 9:2, 9:7,    27:19
                0              33186 [1] - 2:8            accounts [3] - 20:17,       10:1, 11:10, 11:12,      attending [2] - 6:24,
                               3553(a [1] - 37:7           35:21, 35:25               11:25, 12:2, 13:15,       14:22
    0.0.0.O [1] - 7:22         39 [1] - 28:5              accurate [1] - 41:14        13:21, 14:3, 14:21,      attention [1] - 13:13
    0:21-CR-60020-WPD-         3rd [1] - 2:4              Act [1] - 24:9              21:13, 22:21, 24:7       attorney [1] - 39:25
     5 [1] - 1:2                                          act [1] - 39:15            amounts [1] - 13:1        attribute [1] - 29:6
                                           4              actions [1] - 33:12        analogy [2] - 19:22,      audits [1] - 7:13
                1                                         active [1] - 14:9           20:7                     aunts [1] - 25:17
                               4 [1] - 2:7                actively [1] - 12:8        ANDREA [1] - 1:22         AUSA [2] - 1:18, 1:18
    1 [3] - 1:10, 2:4, 21:24   40 [2] - 2:4, 34:4         acts [3] - 13:7, 13:13,    Andrea [1] - 3:10         authority [1] - 18:22
    10 [7] - 10:2, 10:4,       400 [2] - 2:15, 41:20       38:6                      anesthesiologist [1] -    authorized [1] - 11:8
     12:7, 14:15, 14:18,       41 [1] - 8:25              add [2] - 11:10, 11:11      12:13                    authorizes [1] - 20:1
     22:10, 39:6                                          added [1] - 8:9            announce [1] - 3:8        auto [1] - 7:24
    10-year-old [1] - 27:9                 5              addendum [1] - 21:22       announced [1] - 40:6      auto-generated [1] -
    100 [1] - 14:15                                       addiction [1] - 36:10      anonymously [1] -          7:24
    11 [1] - 27:8              50 [2] - 1:10, 39:3                                    33:8
                                                          addicts [1] - 37:25                                  Avenue [3] - 1:20,
    1134 [1] - 7:14            52 [1] - 15:9                                         apart [1] - 26:2
                                                          adding [2] - 11:13,                                   2:15, 41:20
    12020 [1] - 1:23           53 [2] - 21:4, 21:11        14:2                      appeal [6] - 39:23,       avid [1] - 31:25
    12925 [1] - 2:7            54 [1] - 38:12             addition [1] - 7:15         39:24, 39:25, 40:1,      award [4] - 18:6,
    132 [1] - 2:7              57.88 [1] - 11:11          address [3] - 7:22,         40:2, 40:3                18:23, 18:25, 21:1
    1325-C [1] - 7:14                                      11:19, 21:21              appearances [1] - 3:8     awards [1] - 20:9
    1379 [1] - 7:14                        6              adjudicated [1] - 4:3      APPEARANCES [2] -         aware [2] - 14:8, 14:9
    13th [1] - 41:17                                      adjustment [1] - 16:7       1:16, 2:1
    14 [2] - 34:6, 39:23       62 [1] - 34:3
                               68 [1] - 21:13
                                                          administered [2] -         applied [2] - 9:12,                  B
    14-day [1] - 40:2                                      5:22                       16:24
    1400 [1] - 1:20            69 [1] - 21:14                                                                  baby [3] - 25:3, 26:1,
                                                          Administration [1] -       applies [1] - 29:12
    15 [2] - 4:25, 5:8                                     27:19                     apply [2] - 19:7, 39:12    30:14
    167 [1] - 7:15                         7              admits [1] - 34:21         appointed [1] - 39:25     baby's [1] - 26:5
    17 [1] - 35:24                                        admitted [1] - 12:8        appreciate [4] - 25:5,    backed [1] - 30:8
                               7 [1] - 1:6
    18 [2] - 5:19, 37:6                                   adopting [1] - 27:21        28:14, 31:6, 41:1        backwards [1] - 9:20
                               70 [3] - 21:18, 22:2,
    18-level [1] - 15:5                                   adult [1] - 28:14          appreciatively [1] -      balance [1] - 36:20
                                35:23
    19 [2] - 6:12, 17:10                                  adversity [1] - 28:10       19:22                    balancing [1] - 34:18
    1:15 [2] - 1:8, 1:8                                   affections [1] - 28:4      appropriate [1] -         band [3] - 9:20, 10:5,
    1:19 [1] - 6:15                        8              afford [1] - 28:25          36:19                     10:17
    1B1.3 [1] - 16:4           8.3 [5] - 9:24, 10:3,      afternoon [2] - 3:9,       approval [2] - 39:17,     base [1] - 22:7
                                15:14, 15:25, 16:11        3:12                       39:20                    based [8] - 12:2, 12:5,
                2              83 [1] - 10:2              aggravating [1] - 38:8     approximate [1] - 16:9     13:1, 14:14, 22:8,
                               87 [1] - 22:2              ago [1] - 27:1             argue [6] - 6:22, 8:20,    29:24, 33:25
    2,122,500 [1] - 24:5                                  agree [4] - 4:20,           15:10, 15:16, 18:8,      bases [1] - 12:25
                               8th [1] - 1:20
    2,670.41 [1] - 22:12                                   17:13, 19:21, 31:12        19:14                    basis [1] - 9:15
    20 [2] - 6:19, 31:10                                  agreed [1] - 10:12         argument [9] - 9:3,       beach [1] - 25:21
    20005 [1] - 1:21
                                           9                                          13:23, 13:24, 15:3,      bean [1] - 14:2
                                                          agreement [2] - 16:24,
    2023 [2] - 1:6, 41:17      9.5 [2] - 9:21, 11:23       35:18                      15:12, 19:19, 20:25,     BEATON [9] - 2:6,
    21 [1] - 7:3               90 [3] - 11:25, 14:12,     agrees [2] - 16:22,         21:3, 22:15               11:19, 11:22, 13:19,
    21-CR-60020 [1] - 3:6       35:20                      37:20                     arguments [1] - 14:1       14:4, 15:3, 22:17,
    22 [2] - 7:19, 11:10                                                             arms [1] - 26:11           24:8, 36:13
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 43 of 50
                                                                            43


    Beaton [7] - 2:6, 3:15,    briefing [2] - 11:23,     category [1] - 21:24       Code [1] - 37:7            16:23, 22:11
     6:15, 6:17, 9:3,           34:15                    causation [3] - 13:1,      codefendant [1] - 9:8     conspiracy [3] - 3:25,
     11:18, 23:14              briefly [2] - 25:7,        13:2                      codefendants [2] -         5:17, 20:4
    beautiful [1] - 25:3        36:13                    caused [3] - 5:21,          8:10, 11:24              conspired [1] - 5:9
    beck [1] - 28:24           bringing [3] - 19:17,      5:22, 7:6                 coincides [1] - 9:1       constitute [1] - 40:3
    become [2] - 17:5,          19:19, 26:23             causing [1] - 5:10         collar [1] - 30:2         consultant [1] - 39:16
     26:7                      brings [1] - 28:9         central [1] - 10:21        combinations [1] -        contest [1] - 30:16
    BEFORE [1] - 1:14          Brittany [4] - 27:9,      CEO [1] - 4:18              5:24                     continue [1] - 34:9
    behalf [3] - 3:13,          27:13, 27:15, 27:23      certainly [1] - 13:20      comfort [2] - 6:7,        CONTINUED [1] - 2:1
     24:22, 25:6               Brittany's [1] - 27:24    certify [1] - 41:13         26:22                    continued [1] - 26:14
    behind [3] - 3:16,         brokering [1] - 14:7      challenging [1] -          comfortable [2] -         continues [1] - 25:24
     12:9, 36:24               brother [2] - 28:16,       34:17                      11:13, 15:1              contradictory [1] -
    belabor [3] - 19:3,         30:10                    chance [1] - 37:9          coming [1] - 37:25         18:21
     33:15, 34:13              brought [1] - 27:13       change [1] - 30:17         commentary [1] - 16:3     controlled [1] - 38:19
    beliefs [1] - 30:8         Building [1] - 1:20       changed [1] - 30:20        commit [4] - 3:25,        controlling [1] - 40:23
    below [2] - 10:17,         builds [1] - 20:12        character [1] - 30:6        34:19, 38:3, 38:17       conversation [1] -
     12:23                     buprenorphine [1] -       characteristics [3] -      common [1] - 29:3          12:17
    benefit [4] - 5:11,         6:13                      31:21, 33:12, 36:15       community [2] -           conversations [2] -
     5:13, 5:16                burden [1] - 5:5          charge [1] - 6:6            12:13, 37:18              16:17, 33:18
    benevolent [1] - 28:22     Bureau [1] - 40:24        charged [1] - 14:7         companies [2] - 9:14,     convicted [3] - 7:16,
    best [4] - 12:14, 27:5,    business [2] - 29:13,     charitable [1] - 37:11      12:23                     36:23
     27:16, 28:7                35:2                     Charlotte [1] - 25:2       company [3] - 17:5,       conviction [3] - 13:10,
    better [2] - 30:21, 31:1   BY [1] - 2:14             charts [1] - 7:12           26:23, 30:4               32:1, 37:2
    between [5] - 11:15,                                 chief [1] - 6:6            Compass [16] - 4:18,      correct [8] - 4:17,
     11:22, 15:24, 17:13,                 C              child [1] - 27:22           6:7, 6:25, 9:14, 10:8,    11:16, 11:17, 15:5,
     20:17                                               childhood [1] - 25:16       10:19, 11:2, 14:22,       15:6, 17:17, 22:3,
    Bible [1] - 30:10          calculated [4] - 9:19,    chiropractic [3] - 8:7,     14:24, 14:25, 15:1,       23:9
    big [1] - 31:9              9:20, 9:22, 24:9          8:13, 21:10                17:5, 17:7, 18:3,        Corrections [2] -
    bill [3] - 10:7, 10:8,     calculating [3] - 9:11,   chiropractor [2] - 8:5,     22:8, 36:3                26:10, 32:18
     12:4                       10:22, 14:1               21:6                      competitions [1] -        counsel [3] - 3:8, 4:6,
    billed [3] - 8:23, 9:13,   calculation [3] - 9:4,    choose [2] - 26:14,         25:22                     40:4
     35:3                       24:11, 35:11              33:2                      complete [1] - 39:11      counselors [1] - 34:8
    billing [3] - 12:22,       Camp [2] - 40:21,         choosing [1] - 30:11       comply [1] - 38:20        count [1] - 10:13
     17:8, 17:11                40:22                    chose [2] - 26:19,         conceal [1] - 15:11       counter [1] - 5:23
    billings [2] - 7:17,       cannot [2] - 19:5, 27:3    29:23                     concealing [2] - 5:12,    counting [1] - 14:2
     10:9                      Carames [1] - 3:13        chosen [1] - 27:5           5:14                     country [3] - 19:17,
    bills [2] - 8:22, 17:4     CARAMES [1] - 2:3         church [1] - 30:9          conclude [1] - 21:22       31:14, 37:25
    blessed [1] - 25:24        care [12] - 14:13,        circumstance [3] -         concluded [1] - 41:5      counts [6] - 4:1, 4:2,
    blood [1] - 28:1            14:14, 26:16, 27:2,       33:25, 37:10, 37:12       conclusions [1] - 40:6     7:16, 35:11, 38:13,
    blue [1] - 30:2             27:6, 27:13, 28:21,      circumstances [5] -        concurrent [2] -           38:15
    blue-collar [1] - 30:2      29:5, 30:3, 33:9          27:23, 30:25, 33:14,       38:13, 38:16             couple [3] - 3:16,
    BOER [23] - 1:18, 3:9,     career [2] - 29:4, 29:8    36:7, 38:9                condition [1] - 38:21      26:20, 29:16
     4:8, 4:16, 7:11, 8:16,    cares [1] - 29:10         cited [2] - 12:24, 16:3    conditions [2] - 21:21,   course [2] - 34:14,
     9:10, 11:17, 15:6,        caring [2] - 26:19,       claim [2] - 20:1, 21:10     38:20                     34:15
     15:21, 16:21, 18:8,        27:4                     claims [3] - 5:11, 5:13,   conduct [3] - 14:5,       COURT [62] - 1:1, 3:5,
     18:14, 21:9, 21:25,       cars [1] - 29:23           8:21                       17:15, 20:10              3:17, 3:21, 3:24, 4:9,
     22:3, 22:7, 22:14,        case [29] - 5:6, 6:1,     clarification [1] -        confinement [4] -          4:11, 4:14, 4:21, 5:1,
     23:1, 23:7, 24:3,          6:5, 6:14, 8:7, 9:12,     21:20                      31:9, 31:10, 34:1,        5:18, 6:11, 6:17, 7:2,
     24:15, 40:11               10:4, 10:11, 10:23,      clean [1] - 18:2            38:6                      7:10, 7:18, 8:2, 8:14,
    Boer [8] - 3:10, 4:7,       11:2, 12:24, 12:25,      clear [3] - 12:18,         Congress [1] - 20:9        8:18, 8:24, 9:5, 9:7,
     7:10, 8:14, 16:19,         16:8, 18:8, 18:16,        23:23, 24:8               connection [1] - 40:1      11:13, 11:18, 11:21,
     19:18, 21:8, 34:12         19:11, 31:19, 33:15,     client [1] - 32:6          consider [4] - 30:18,      13:16, 13:23, 14:25,
    bond [1] - 28:14            34:16, 35:7, 35:8,       close [2] - 13:13,          31:18, 36:14, 37:3        15:4, 15:7, 15:19,
    Bond [1] - 1:20             35:17, 35:23, 36:1,       20:25                     consideration [1] -        16:19, 18:6, 18:11,
    bonds [1] - 28:18           36:8, 36:21, 37:14,                                  33:22                     18:18, 19:16, 20:24,
                                                         closely [1] - 28:18
    bono [1] - 29:5             38:4, 40:9                                          considered [1] - 37:6      21:8, 21:11, 21:17,
                                                         clothes [1] - 29:23
    born [1] - 26:2            Case [1] - 3:6                                       considering [2] -          21:23, 22:2, 22:5,
                                                         cocaine [1] - 19:23
    Brashey [1] - 35:15        CASE [1] - 1:2                                        31:17, 37:5               22:13, 22:15, 22:24,
                                                         coconspirators [1] -
    Brief [1] - 6:21           cases [4] - 9:9, 19:16,                              considers [1] - 37:14      23:5, 23:10, 23:20,
                                                          13:6
    briefed [1] - 10:24         24:13, 37:15                                        consistent [3] - 9:8,      24:6, 24:12, 24:16,
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 44 of 50
                                                                            44


     24:19, 24:24, 31:6,       Daniel [2] - 10:17,         despite [1] - 28:1           15:2, 29:3, 35:1,         elicit [2] - 40:4, 40:7
     34:2, 34:11, 36:12,        22:10                      details [1] - 13:14          36:8, 37:22, 37:23,       eliminated [1] - 13:21
     37:5, 40:12, 40:16,       daughter [3] - 24:21,       determination [1] -          38:1                      ELIZABETH [1] - 2:3
     40:22                      25:2, 26:1                  22:23                      dollar [1] - 15:14         Elon [1] - 35:14
    court [3] - 32:19,         days [1] - 39:23            determinations [1] -        dollars [2] - 17:10,       eloquently [1] - 36:17
     32:21, 35:18              de [8] - 3:10, 4:7, 7:10,    24:11                       35:3                      embarrassed [1] -
    Court [53] - 2:14, 2:15,    8:14, 16:19, 19:17,        determine [2] - 37:8,       donated [1] - 33:8          29:1
     3:1, 3:3, 3:25, 4:18,      21:8, 34:12                 38:9                       done [1] - 36:18           empathetic [1] - 26:20
     5:2, 9:20, 9:22, 9:23,    DE [23] - 1:18, 3:9, 4:8,   deterrent [1] - 38:6        doors [1] - 26:15          empathy [1] - 29:12
     10:16, 11:1, 11:19,        4:16, 7:11, 8:16,          deters [1] - 36:8           down [3] - 13:4, 20:19,    employed [1] - 39:16
     11:24, 12:1, 12:24,        9:10, 11:17, 15:6,         Detox [3] - 6:7, 6:25,       26:20                     employment [1] -
     13:3, 14:11, 14:20,        15:21, 16:21, 18:8,         11:4                       DR [2] - 24:25, 31:7        39:21
     20:8, 20:18, 21:14,        18:14, 21:9, 21:25,        detox [1] - 18:3            Dr [76] - 3:14, 3:24,      emulate [1] - 29:4
     22:10, 22:19, 23:7,        22:3, 22:7, 22:14,         device [1] - 38:19           4:11, 4:18, 5:3, 5:9,     emulated [1] - 28:15
     23:16, 24:10, 31:5,        23:1, 23:7, 24:3,          devoted [2] - 25:11,         6:3, 6:6, 6:23, 7:1,      encouraged [1] - 26:6
     31:18, 32:4, 33:21,        24:15, 40:11                28:12                       7:5, 7:13, 7:21, 7:23,    end [3] - 26:21, 35:23,
     34:14, 34:17, 35:10,      deals [1] - 36:7            DIANNE [1] - 2:3             7:25, 8:12, 8:20,          35:24
     36:2, 36:6, 36:14,        debt [1] - 39:13            Dianne [1] - 3:13            10:7, 10:9, 10:13,        engaging [1] - 36:9
     37:3, 37:7, 37:13,        decision [3] - 5:6,         differed [1] - 6:9           10:18, 10:20, 10:24,      enhance [1] - 18:7
     37:15, 37:18, 37:20,       31:12, 34:17               difference [3] - 15:24,      11:2, 11:8, 12:9,         enhanced [2] - 15:20,
     38:5, 38:9, 38:11,        dedicated [1] - 25:12        20:16, 20:18                12:12, 12:17, 12:18,       20:14
     39:8, 39:17, 39:21,       deems [1] - 31:20                                        12:19, 12:23, 13:11,
                                                           different [3] - 19:22,                                 enhancement [5] -
     39:24, 40:17, 41:20       deeply [1] - 28:12                                       13:22, 14:7, 14:17,
                                                            34:15, 35:18                                           15:5, 16:23, 16:24,
    Court's [4] - 13:20,       default [1] - 26:13                                      14:20, 14:21, 14:22,
                                                           differently [1] - 7:9                                   17:1, 18:20
     19:2, 40:5, 40:14         defendant [9] - 7:16,                                    15:13, 16:8, 16:24,
                                                           differing [2] - 6:2, 6:14                              enhancements [2] -
    courtroom [1] - 6:15        34:18, 34:19, 34:20,                                    17:9, 17:12, 17:14,
                                                           difficult [2] - 27:5,                                   18:16, 19:8
    COURTROOM [3] -             34:21, 34:25, 35:12,                                    17:15, 17:16, 17:17,
                                                            30:24                                                 enjoy [1] - 26:21
     3:2, 3:6, 41:4             35:14, 36:15                                            17:18, 17:19, 17:20,
                                                           dignity [1] - 26:21                                    enjoys [1] - 30:4
    courts [1] - 15:18         DEFENDANT [4] - 1:8,                                     17:22, 17:23, 17:24,
                                                           DIMITROULEAS [1] -                                     enrich [1] - 5:10
    cousin [1] - 28:1           2:2, 4:13, 34:3                                         19:25, 20:13, 20:17,
                                                            1:14                                                  ensure [1] - 27:2
    cousins [1] - 25:18        defendant's [3] - 16:5,                                  21:5, 21:6, 21:15,
                                                           dimitrouleas [1] - 3:4                                 enter [1] - 23:7
    created [2] - 7:5, 7:6      22:8, 35:21                                             22:22, 24:19, 24:23,
                                                           dinners [1] - 25:22                                    entered [2] - 6:15,
    creating [1] - 19:23       defendants [4] -                                         31:23, 34:2, 35:16,
                                                           director [11] - 4:19,                                   26:8
    credentialed [1] -          14:12, 32:21, 32:22,                                    37:9, 37:19, 38:4,
                                                            9:15, 16:15, 16:16,                                   entering [1] - 39:21
     12:13                      37:14                                                   38:12, 39:22, 40:19,
                                                            18:10, 19:12, 19:25,                                  entire [1] - 20:4
    credentials [1] - 33:21    defender [1] - 32:20                                     41:1
                                                            20:3, 20:15, 33:4,                                    entitled [3] - 22:22,
    credit [1] - 36:17         defense [2] - 4:16,                                     Draesel [2] - 8:4, 21:5
                                                            33:7                                                   23:18, 41:15
    crime [5] - 19:20,          24:6                                                   draw [1] - 15:23
                                                           discharge [1] - 18:2                                   equivalent [1] - 10:20
     20:7, 31:1, 34:18,        defense's [2] - 21:22,                                  drinks [1] - 6:8
                                                           discounted [2] -                                       especially [2] - 20:10,
     35:12                      22:18                                                  drives [1] - 32:15
                                                            11:24, 14:11                                           33:10
    crimes [1] - 38:18         deferred [1] - 4:3                                      drove [1] - 12:21
                                                           discretion [2] - 13:25,                                ESQ [4] - 1:22, 2:2,
    Criminal [1] - 1:19        degree [1] - 13:20           21:1                       drug [2] - 7:25, 37:25
                                                                                                                   2:3, 2:6
    criminal [2] - 21:24,      deliberate [1] - 13:13      discussed [3] - 4:12,       drugs [3] - 19:17,
                                                                                                                  establish [1] - 7:23
     31:1                      dementia [1] - 27:3          10:4, 13:3                  19:19, 37:24
                                                                                                                  established [1] - 8:12
    CRR [2] - 2:14, 41:19      demonstratively [1] -       disease [1] - 27:2          due [1] - 27:1
                                                                                                                  esteem [1] - 28:19
    culpability [3] - 13:20,    23:5                       disparate [1] - 37:16       during [2] - 26:15,
                                                                                                                  event [1] - 13:4
     14:17, 15:17              denial [1] - 40:14                                       39:1
                                                           distinction [1] - 17:13                                evidence [12] - 6:5,
    culpable [5] - 11:24,      dental [2] - 26:8, 29:5                                 dutiful [1] - 25:11
                                                           District [5] - 2:15, 3:3,                               6:16, 7:5, 8:6, 8:7,
     15:25, 16:10, 19:15,      dentist [2] - 25:2,          36:16, 41:20               duty [2] - 39:22, 40:4
                                                                                                                   8:17, 8:21, 12:3,
     34:22                      36:24                      DISTRICT [3] - 1:1,                                     21:7, 21:10, 33:20,
    cut [3] - 14:10, 14:20,    deny [3] - 5:21, 6:13,       1:1, 1:14                             E                34:20
     14:24                      23:25                      district [1] - 36:5                                    exactly [1] - 17:1
                               denying [2] - 3:21, 5:9                                 earned [2] - 33:4, 39:3
                                                           diverted [1] - 5:24                                    example [9] - 7:14,
               D               Department [4] - 1:19,      diverting [1] - 5:15
                                                                                       earnings [1] - 39:7
                                                                                                                   12:10, 14:20, 16:14,
                                1:23, 26:9, 32:18                                      earth [1] - 30:1
                                                           Division [1] - 1:19                                     18:1, 19:7, 25:13,
    D.C [1] - 1:21             deplete [1] - 36:9                                      easiest [1] - 27:6
                                                           doctor [10] - 6:9, 6:10,                                27:8, 30:7
    dad [1] - 31:4             depth [1] - 35:9                                        effort [1] - 12:1
                                                            9:16, 9:17, 17:2,                                     examples [2] - 11:5,
    daily [1] - 26:24          DEPUTY [3] - 3:2, 3:6,                                  eight [1] - 4:1
                                                            17:8, 28:22, 36:4,                                     18:4
    danger [1] - 34:5           41:4                                                   either [2] - 16:1, 35:19
                                                            37:21                                                 exceeds [1] - 16:5
    dangerous [1] - 38:19      desire [1] - 39:24                                      elements [1] - 28:18
                                                           doctors [8] - 6:14,
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 45 of 50
                                                                            45


    exceptional [1] - 25:7        29:23                      22:8, 22:15, 22:17,      goals [1] - 38:7           healthcare [7] - 3:25,
    excluded [1] - 13:15        far [1] - 29:17              22:20, 22:23, 22:24,     GOVERNMENT [1] -            4:2, 5:11, 5:13,
    excuse [1] - 4:1            fashion [3] - 31:16,         23:3, 23:6, 23:8,         1:18                       10:14, 36:9, 39:16
    execute [1] - 40:17           33:22, 36:6                23:17, 23:21, 24:1       Government [23] -          hear [2] - 9:5, 11:18
    exercise [2] - 13:25,       father [23] - 25:7,        fortunate [1] - 28:16       4:15, 6:4, 7:9, 7:11,     heard [6] - 11:1,
     20:25                        25:11, 25:15, 25:25,     fortunately [1] - 27:24     7:23, 8:5, 9:5, 9:19,      27:20, 33:8, 33:16,
    Exhibit [1] - 7:14            26:5, 26:9, 26:12,       forward [2] - 14:21,        10:1, 11:5, 11:9,          33:17, 34:14
    exist [2] - 20:8, 36:6        26:19, 27:8, 27:23,        19:13                     16:21, 20:23, 22:7,       hearing [2] - 23:17,
    expansive [1] - 17:15         28:17, 28:19, 28:23,     foundation [2] -            32:14, 34:13, 34:21,       40:7
    experts [2] - 6:1, 6:2        29:5, 29:7, 29:10,         30:11, 31:14              35:8, 35:22, 36:2,        HEARING [1] - 1:12
    exposed [1] - 28:3            29:13, 29:21, 29:23,     four [7] - 15:21, 16:2,     36:21, 37:20, 40:10       heart [1] - 25:8
    expressly [1] - 19:5          30:7, 30:15, 30:24,        16:10, 20:12, 20:13,     Government's [9] -         held [4] - 13:22, 14:19,
    extend [1] - 27:7             30:25                      20:16, 33:6               6:9, 10:11, 10:25,         15:13, 16:10
    extent [4] - 13:9,          favor [1] - 36:1           four-point [1] - 20:16      14:14, 16:19, 22:5,       hello [1] - 24:25
     13:19, 20:6, 24:10         favors [1] - 29:24         four-year [1] - 16:10       24:2, 24:3, 34:11         help [1] - 28:25
    extravagant [1] -           federal [1] - 32:22        FPR [2] - 2:14, 41:19      grandfather [1] -          helped [2] - 26:13,
     25:19                      feet [1] - 27:25           fraction [1] - 30:14        25:25                      30:20
    eyes [1] - 13:20            felon [1] - 36:23          Fraud [1] - 1:19           grandmother [1] -          helping [1] - 27:22
                                felt [2] - 12:1, 32:9      fraud [7] - 4:1, 4:2,       26:25                     helpings [1] - 25:13
                                fighting [1] - 34:9                                   grandparents [1] -
                F                                            10:15, 14:14, 16:6,
                                                                                       25:17
                                                                                                                 helps [1] - 33:11
                                filed [2] - 31:22, 40:15     33:19                                               hereby [1] - 41:13
    faced [1] - 34:17           filled [1] - 25:20         fraudulent [10] - 5:11,    granted [1] - 13:17        hi [1] - 34:3
    facilitate [1] - 15:11      final [1] - 26:15            5:13, 5:14, 5:15,        grave [1] - 13:19          high [2] - 12:11, 28:19
    facilities [5] - 11:7,      financial [5] - 21:20,       8:21, 11:6, 16:17,       great [3] - 27:8, 30:17,   HILL [1] - 2:10
      11:14, 33:7, 37:21,         39:3, 39:5, 39:7,          35:2, 35:7, 38:1          37:18                     himself [3] - 5:10,
      38:1                        39:11                    free [1] - 28:24           greatly [3] - 16:5,         29:11, 32:11
    facility [2] - 6:24, 27:6   financially [1] - 26:13    friend [1] - 27:10          28:14, 32:2               history [3] - 21:24,
    fact [11] - 9:15, 17:20,    findings [1] - 40:5        friends [3] - 28:7,        greed [1] - 32:15           31:21, 36:15
      21:21, 23:18, 26:11,      fine [3] - 38:23, 38:24,     28:23, 29:24             greedy [3] - 32:13,        hold [1] - 28:19
      29:25, 31:10, 31:25,        38:25                    front [2] - 23:24, 35:17    32:17, 33:13              holds [1] - 20:7
      32:7, 34:19, 40:6         fingertips [1] - 22:21     FT [1] - 1:2               gross [1] - 39:7           home [9] - 26:10,
    factor [1] - 17:21          firearm [1] - 38:18        fully [1] - 40:5           grossly [1] - 5:24          26:17, 27:6, 27:11,
    factors [5] - 12:21,        Firm [1] - 2:6             funds [1] - 39:24          grounded [1] - 30:7         31:9, 31:10, 33:9,
      31:18, 31:19, 35:25,      first [7] - 3:19, 19:23,   furtherance [1] - 5:16     guess [2] - 15:5, 23:20     34:1, 38:6
      36:14                       20:8, 26:8, 26:14,       future [1] - 32:2          guideline [3] - 9:4,       homeless [1] - 29:6
    facts [8] - 5:5, 12:6,        31:21, 39:13             Future [5] - 11:4,          16:7, 35:11               Honor [49] - 3:9, 3:13,
      33:14, 34:13, 35:9,       firsthand [2] - 28:20,       11:12, 17:25, 20:5,      guidelines [10] -           4:8, 4:10, 4:13, 4:16,
      35:10, 36:7, 37:6           30:20                      36:4                      18:12, 18:22, 19:5,        7:11, 8:16, 9:10,
    factual [1] - 13:1          fishermen [1] - 30:2                                   19:6, 19:9, 30:23,         10:16, 11:17, 11:20,
    fail [1] - 40:2             fishing [3] - 25:22,                  G                31:17, 35:23, 35:25,       15:6, 15:8, 15:21,
    fair [5] - 8:16, 31:16,       29:25, 31:24                                         37:6                       18:9, 18:15, 19:4,
      33:23, 34:1, 38:9         five [2] - 26:15, 27:1     gain [2] - 16:5, 38:4      guilty [11] - 3:25, 4:3,    19:21, 20:22, 21:12,
    fairly [2] - 35:11, 35:21   Floor [1] - 1:20           Garnto [1] - 12:10          5:3, 5:4, 6:3, 10:13,      21:19, 21:25, 22:1,
    faith [1] - 30:8            FLORIDA [1] - 1:1          general [1] - 29:13         10:14, 13:11, 30:16,       22:3, 22:4, 22:7,
    fall [2] - 14:13, 14:15     Florida [16] - 1:4,        generated [2] - 7:24,       30:25, 34:9                22:17, 23:1, 23:9,
    falling [1] - 13:11           1:24, 2:4, 2:8, 2:16,     8:11                                                  23:13, 24:15, 24:18,
    falls [1] - 12:23             3:4, 11:4, 11:11,        generosity [1] - 27:7                 H                24:25, 25:5, 29:21,
    false [8] - 5:11, 5:12,       17:6, 17:25, 18:2,       generous [1] - 25:10                                   30:22, 30:23, 31:3,
      7:4, 7:6, 7:16, 10:7,       20:5, 25:2, 36:3,        genuine [1] - 28:21        half [2] - 11:15, 11:16     31:15, 31:25, 32:19,
      10:8                        36:5, 41:21              genuinely [1] - 29:10      handle [1] - 3:19           33:15, 34:3, 34:12,
    falsified [2] - 7:12,       focused [1] - 15:12        girl [4] - 25:3, 27:9,     hangs [1] - 36:20           36:11, 36:13, 40:11,
      7:13                      folks [1] - 34:25           30:15, 36:25              happiness [1] - 25:21       41:3
    families [2] - 28:10,       food [1] - 26:23           girls [1] - 26:1           happy [1] - 33:5           HONORABLE [1] -
      29:14                     FOR [2] - 1:18, 2:2        given [3] - 20:19, 29:8,   hard [2] - 25:10, 26:19     1:14
    family [11] - 24:22,        foregoing [1] - 41:13       33:25                     hard-working [2] -         Honorable [1] - 3:4
      25:6, 25:16, 25:17,       foreseeability [2] -       GLENDA [2] - 2:14,          25:10, 26:19              hope [1] - 30:23
      25:22, 26:14, 27:4,         13:5, 13:6                41:19                     Hayes [1] - 3:10           hour [1] - 28:24
      27:7, 27:10, 28:23,       foreseeable [2] - 13:7,    glenda_powers@             HAYES [6] - 1:18,          hours [1] - 26:2
      37:18                       14:5                      flsd.uscourts.gov          19:2, 19:21, 23:9,        house [1] - 27:13
    fancy [2] - 29:22,          forfeiture [13] - 22:6,     [2] - 2:16, 41:21          23:12, 41:3               houses [1] - 26:20
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 46 of 50
                                                                            46


    human [1] - 32:15         instead [1] - 26:19        jury [22] - 5:3, 5:7, 6:2,   lesser [3] - 16:11,           35:20
    humblest [1] - 29:21      instilled [1] - 25:15        10:12, 13:8, 13:10,          20:6, 20:10               losses [1] - 11:13
    hunter [1] - 31:25        insurance [5] - 7:13,        13:11, 13:16, 13:17,       lessons [1] - 28:2          love [4] - 26:3, 27:15,
    hunting [1] - 31:24         8:21, 9:13, 12:23,         22:23, 23:1, 23:2,         letter [4] - 32:4, 32:5,      28:12, 28:16
    husband [2] - 25:12,        20:1                       23:11, 23:16, 23:18,         32:7, 32:8                loved [1] - 32:1
     28:15                    insure [1] - 37:16           23:19, 23:22, 30:15,       letters [2] - 31:22,        loves [2] - 29:25, 32:2
    hypothetically [1] -      interests [1] - 27:16        31:11, 31:12, 36:23          32:12                     loving [2] - 25:10,
     18:17                    interpreting [1] - 15:1    Justice [2] - 1:19, 1:23     level [5] - 15:17,            25:12
                              interstate [1] - 5:12      justice [2] - 18:20,           15:20, 18:25, 21:1,       lovingly [1] - 27:25
               I              intervening [1] - 13:4       31:13                        21:23                     low [2] - 35:22, 37:9
                              investigation [4] - 4:4,                                levels [1] - 16:2           lower [1] - 36:1
    ill [2] - 32:23, 32:24      4:7, 4:12, 4:15                      K                liability [2] - 13:5,       loyal [1] - 28:12
    immediate [1] - 36:18     investment [1] - 17:21                                    38:22                     luck [2] - 40:19, 41:1
    immediately [1] -         involved [4] - 7:7,        keeping [1] - 26:23          license [7] - 10:10,        lump [1] - 14:4
      27:13                     10:21, 34:20, 34:21      Kentucky [1] - 37:25           17:3, 36:4, 37:21,
                                                         kickback [1] - 12:10
    immigrant [1] - 29:14     IP [1] - 7:22                                             37:24, 38:3, 39:19                   M
    immigrants [1] - 30:3     issue [1] - 20:25          kickbacks [2] - 17:18,       licensed [1] - 17:5
    impact [1] - 29:19                                    20:10                       licenses [1] - 35:2         M.D [1] - 1:7
                                                         kind [5] - 9:1, 18:18,
    important [2] - 29:7,                J                19:16, 29:24, 32:9
                                                                                      licensing [2] - 20:2,       man [6] - 25:8, 25:11,
      31:19                                                                             20:21                      30:7, 30:17, 36:17,
    importantly [1] - 14:9    JAMES [1] - 1:18           knowledge [2] - 16:6,        Lieberman [16] - 6:6,        37:4
    impose [6] - 18:12,       Jamie [1] - 3:10            17:23                         7:1, 10:18, 12:12,        manner [2] - 39:16,
      23:2, 24:20, 36:12,     JAMIE [1] - 1:18           known [1] - 21:15              12:17, 12:19, 14:20,       40:8
      38:5, 38:23             Janine [2] - 24:23,        knows [6] - 4:18, 30:4,        14:21, 14:22, 16:24,      MARCOS [1] - 2:6
    imposed [4] - 13:6,         25:1                      31:18, 35:10, 36:2,           17:12, 17:14, 17:16,      marine [1] - 27:18
      24:17, 37:14, 40:8      JANINE [2] - 24:25,         36:15                         17:18, 17:20, 17:24       Mario [1] - 35:18
    imposes [1] - 37:16         31:7                     Kustura's [1] - 35:18        lies [1] - 14:6             mark [2] - 14:15, 15:14
    impression [1] - 27:17    Jeffrey [1] - 8:4                                       life [10] - 25:13, 25:14,   market [1] - 29:17
    in-depth [1] - 35:9       jewelry [1] - 29:23                    L                  26:5, 30:19, 32:9,        Markovich [17] - 9:12,
    inclined [2] - 18:24,     Jim [1] - 3:10                                            34:5, 36:18, 36:20,        9:21, 10:2, 10:14,
      19:3                    job [5] - 32:18, 32:24,    lab [1] - 17:8                 37:11                      10:17, 10:20, 12:11,
    included [1] - 14:6         32:25, 39:2, 39:4        laboratories [1] - 9:14      Life [6] - 11:4, 11:11,      15:15, 15:17, 15:19,
    includes [1] - 19:13      joining [1] - 3:16         laboratory [3] - 10:9,         17:25, 18:2, 20:6,         17:20, 19:14, 20:11,
    including [3] - 7:9,      joint [1] - 38:22            17:9, 17:11                  36:3                       20:12, 20:17, 22:10,
      25:17, 38:21            Jonathan [14] - 9:12,      labs [3] - 7:21, 9:17,       lifestyle [1] - 25:19        24:4
    inconsistent [1] - 18:6     9:21, 10:1, 10:13,         10:19                      likewise [1] - 28:25        Markoviches [1] -
    increasing [1] - 33:11      10:20, 15:15, 15:17,     large [1] - 15:24            limited [2] - 16:6,          8:11
    incur [1] - 39:12           15:19, 17:19, 19:14,     larger [1] - 15:24             16:14                     Markoviches' [1] - 8:6
    indictment [2] - 22:20,     20:11, 20:12, 22:10,     last [1] - 7:15              live [5] - 25:13, 25:19,    marriage [1] - 28:5
      23:16                     24:4                     lasting [1] - 27:17            29:19, 30:19, 36:22       married [1] - 34:4
    indifference [1] -        Jose [5] - 3:7, 3:14,      LAUDERDALE [1] -             lives [5] - 26:21, 30:9,    Marshal [2] - 40:17,
      32:15                     25:1, 25:9, 32:17          1:2                          30:21, 35:6, 36:10         40:18
    individual [4] - 6:7,     JOSE [1] - 1:7             laughter [1] - 25:20         living [3] - 26:14,         Massachusetts [1] -
      32:13, 32:17, 33:13     journey [1] - 26:7         law [5] - 24:8, 33:10,         26:20, 30:4                26:9
    individualized [1] -      joy [1] - 25:20              38:6, 38:11, 40:6          loans [1] - 26:12           material [1] - 29:24
      12:21                   JR [1] - 2:6               Law [2] - 2:3, 2:6           Look [1] - 19:4             maternal [1] - 26:25
    individuals [4] -         JUDGE [1] - 1:14           lawyer [1] - 4:12            look [3] - 19:18, 30:18,    matter [2] - 28:8,
      16:18, 32:25, 33:25,    judge [6] - 4:24, 6:22,    least [1] - 11:3               33:24                      41:15
      38:2                      21:12, 31:8, 40:13,      leave [1] - 17:7             looking [1] - 20:18         mean [4] - 6:3, 16:12,
    industry [1] - 39:17        40:20                    led [1] - 32:9               losing [1] - 31:11           26:4, 34:6
    inform [1] - 39:22        Judge [13] - 3:22,         legal [3] - 13:2, 24:16,     loss [35] - 9:1, 9:2,       meaning [1] - 23:18
    information [1] -           6:20, 7:20, 8:4, 8:20,     28:9                         9:7, 9:11, 9:12, 9:13,    means [4] - 13:8, 13:9,
      39:11                     9:2, 15:13, 15:22,       legally [1] - 27:21            9:20, 9:22, 10:1,          13:10, 27:10
    informed [1] - 27:12        21:4, 24:8, 24:21,       legitimacy [1] - 17:3          10:5, 10:7, 10:17,        meant [1] - 13:14
    inquired [1] - 27:21        33:14, 36:16             legitimate [3] - 5:24,         10:23, 11:9, 11:10,       medical [19] - 4:19,
    inseparable [1] -         judges [1] - 30:5            14:13, 17:4                  11:12, 11:15, 11:25,       5:24, 6:6, 6:14, 6:23,
      28:13                   judgment [7] - 12:20,      lend [1] - 17:3                12:2, 12:25, 13:15,        9:15, 16:15, 16:16,
    insight [1] - 25:6          13:18, 23:3, 23:8,       length [1] - 11:1              13:21, 14:1, 14:3,         17:2, 18:10, 19:12,
    installing [1] - 29:7       23:12, 38:11, 39:23      less [5] - 15:25, 16:2,        14:21, 15:1, 16:4,         19:25, 20:3, 20:15,
    instances [1] - 19:6      July [1] - 1:6               17:21, 33:6, 34:7            21:13, 24:10, 35:13,       26:7, 28:19, 33:4,
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 47 of 50
                                                                            47


     33:7, 39:19              mostly [1] - 15:11        next [4] - 8:25, 15:7,    offer [2] - 25:6, 29:25     painted [1] - 32:14
    medically [1] - 8:1       mother [9] - 25:3,         15:9, 21:3               OFFICER [1] - 2:10          paragraph [15] - 4:17,
    medication [1] - 5:23      26:22, 27:2, 27:9,       niece [1] - 26:1          officer [3] - 6:6, 39:12,    4:25, 5:8, 5:19, 6:12,
    medications [3] -          27:20, 27:24, 29:22,     niece's [1] - 26:5         39:14                       6:19, 7:3, 7:19, 8:3,
     5:21, 6:8, 6:10           33:10, 36:25             nine [4] - 4:1, 11:16,    Official [1] - 2:14          8:19, 8:25, 21:4,
    medicine [1] - 28:17      mother-in-law [1] -        38:13, 38:15             often [1] - 19:19            21:13, 21:14, 21:18
    meds [1] - 5:23            33:10                    nine-and-half [1] -       oftentimes [1] - 32:23      paragraphs [1] - 8:10
    meet [1] - 29:22          motion [5] - 3:21,         11:16                    old [4] - 25:3, 27:8,       parallel [1] - 24:9
    memo [1] - 32:15           17:11, 36:22, 36:24,     NO [1] - 1:2               34:4, 34:6                 parent [1] - 30:13
    memorandum [3] -           37:4                     noble [1] - 25:14         once [4] - 18:12, 20:2,     parents [9] - 26:15,
     10:25, 11:6, 18:5        motions [3] - 3:19,       nominee [1] - 16:14        27:12, 33:5                 27:12, 27:15, 27:20,
    memories [1] - 25:20       34:16, 40:14             non [1] - 20:4            one [15] - 3:19, 3:20,       27:24, 28:2, 28:4,
    mentally [2] - 32:23      MR [13] - 11:19, 11:22,   none [3] - 14:7, 14:8,     4:17, 6:19, 8:6, 13:9,      30:8, 33:10
    mercy [1] - 34:10          13:19, 14:4, 15:3,        19:12                     15:16, 19:14, 20:6,        Parkway [1] - 1:23
    met [1] - 5:5              19:2, 19:21, 22:17,      nonetheless [1] - 34:8     28:18, 29:21, 31:17,       part [4] - 16:17, 16:18,
    Miami [7] - 1:4, 2:4,      23:9, 23:12, 24:8,       North [2] - 2:15, 41:20    33:17, 34:24, 36:14         33:17, 33:19
     2:8, 2:15, 2:16,          36:13, 41:3              notes [2] - 7:4, 7:6      open [1] - 26:11            participate [1] - 30:9
     41:20, 41:21             MS [52] - 3:9, 3:12,      nothing [4] - 8:11,       operate [1] - 39:15         participating [1] -
    Miami's [1] - 12:14        3:18, 3:22, 4:8, 4:10,    19:4, 26:4, 30:16        operations [1] - 27:18       17:12
    might [2] - 13:24,         4:16, 4:24, 5:2, 5:19,   nowadays [1] - 28:11      opinion [2] - 6:9,          participation [1] -
     35:25                     6:12, 6:16, 6:19,        Number [1] - 3:6           30:17                       16:13
    million [11] - 9:21,       6:22, 7:3, 7:11, 7:19,   number [7] - 9:22,        opportunity [3] - 4:6,      particular [2] - 12:22,
     9:24, 10:2, 10:3,         8:3, 8:15, 8:16, 8:19,    10:3, 10:5, 16:1,         25:5, 31:4                  12:23
     11:11, 11:16, 11:23,      8:25, 9:6, 9:10,          16:11, 20:9, 22:22       opposes [1] - 16:21         particularized [2] -
     15:14, 16:11, 17:10       11:17, 15:6, 15:8,       numbers [2] - 14:2,       option [1] - 26:20           12:5, 14:23
    millions [2] - 35:3        15:21, 15:22, 16:21,      30:23                    order [12] - 3:1, 7:21,     parties [2] - 40:5, 40:7
    mills [1] - 37:23          18:8, 18:14, 21:4,       nurses [1] - 34:8          7:25, 17:10, 24:13,        partners [1] - 28:7
    mind [1] - 3:18            21:9, 21:12, 21:18,      nursing [1] - 26:17        38:25, 39:6, 39:10,        party [1] - 40:7
    mini [1] - 23:22           21:25, 22:1, 22:3,                                  39:12, 39:15, 39:18,       pass [1] - 27:22
                                                        nurtured [1] - 27:16
                               22:4, 22:7, 22:14,                                  39:20                      passed [2] - 17:4,
    minimal [1] - 15:12                                 NW [1] - 1:20
                               23:1, 23:7, 24:3,                                  ordered [1] - 4:4            26:18
    minor [13] - 16:20,
                               24:15, 24:18, 24:21,
     16:22, 18:7, 18:9,
                               31:8, 40:11, 40:13,                 O              ordering [1] - 9:18         pastimes [2] - 25:23,
     18:13, 18:16, 18:23,                                                         otherwise [1] - 4:20         30:5
                               40:20                    obfuscation [1] - 14:6                                patient [5] - 7:12,
     18:25, 19:18, 19:20,                                                         ought [1] - 36:6
                              mule [5] - 19:16,         object [2] - 5:8, 40:13                                14:7, 14:13, 35:15,
     20:19, 21:1, 35:13                                                           outside [1] - 14:19
                               19:18, 19:19, 19:24,     objection [26] - 4:14,                                 35:16
    minutes [1] - 3:16                                                            over-prescribed [2] -
                               19:25                                                                          patient's [1] - 14:14
    Miramar [2] - 1:23,                                  4:22, 4:25, 5:18,         6:10, 6:13
                              multiple [2] - 26:22,      5:19, 6:11, 6:12,                                    patient-brokering [1]
     1:24                                                                         over-prescription [1] -
                               34:16                     6:18, 6:19, 7:2, 7:3,                                 - 14:7
    misconduct [2] -                                                               5:20
                              must [2] - 39:3, 39:4      7:18, 7:19, 8:2, 8:3,                                patients [11] - 6:23,
     36:18, 37:3                                                                  over-the-counter [1] -
    misleading [1] - 12:9                                8:18, 8:19, 8:24,         5:23                        12:11, 12:22, 17:25,
    mitigating [3] - 37:10,              N               15:7, 15:9, 18:25,       overcome [1] - 28:10         18:1, 28:21, 28:25,
     37:12, 38:8                                         19:1, 21:2, 21:11,       overrule [10] - 5:18,        29:1, 36:10
                              N.W [1] - 2:4
    moment [1] - 6:20                                    21:17, 21:18              6:11, 6:17, 7:2, 7:18,     pause [1] - 6:21
                              name [3] - 7:21, 25:1,
    moments [1] - 25:20                                 objections [6] - 4:24,     8:2, 8:24, 18:25,          pay [4] - 38:21, 38:23,
                               38:3
    money [10] - 17:19,                                  21:22, 40:5, 40:7,        21:2, 21:17                 39:5, 39:6
                              named [2] - 25:3, 27:9     40:10, 40:14
     17:21, 23:3, 23:8,                                                           overseeing [1] - 9:16       paycheck [2] - 29:19
                              National [1] - 27:18      obligations [3] - 39:4,
     23:12, 33:1, 33:4,                                                           own [6] - 26:6, 28:3,       paying [1] - 13:13
                              necessity [1] - 20:19      39:5, 39:8
     33:8, 34:9, 35:5                                                              28:15, 29:4, 29:22,        payment [1] - 39:8
                              need [3] - 15:23,         obstruction [1] -
    monitoring [1] - 6:23                                                          39:15                      payments [1] - 26:12
                               23:17, 40:18              18:20
    month [2] - 25:3,                                                             owner [1] - 16:14           pecuniary [1] - 38:3
                              needed [2] - 23:23,       obtain [1] - 39:20
     29:18                                                                                                    Pensacola [2] - 40:21,
                               23:24
    monthly [2] - 26:12,
                              needs [3] - 15:25,
                                                        obtaining [1] - 39:13                 P                40:22
     39:7                                               obviously [1] - 5:4                                   people [15] - 12:7,
                               26:24, 38:5                                        p.m [5] - 1:8, 1:8, 6:15,
    months [4] - 22:2,                                  ocean [1] - 27:16                                      17:24, 27:22, 28:11,
                              never [6] - 12:16,                                   41:5
     35:23, 35:24, 38:12                                Oceanic [1] - 27:18                                    29:10, 30:1, 30:5,
                               18:14, 29:15, 31:10,                               Pages [1] - 1:10
    moral [1] - 25:14                                   October [1] - 41:17                                    30:20, 33:9, 33:11,
                               32:5, 34:4
    morning [1] - 3:12                                  OF [2] - 1:1, 1:4         paid [3] - 20:2, 34:7,       34:7, 34:24
                              new [1] - 3:21
    most [3] - 19:15,                                   offense [3] - 16:6,        39:1                       per [3] - 26:23, 29:18,
                              New [2] - 1:20, 36:16                               pain [1] - 12:11
     26:19, 29:25                                        21:16, 21:23                                          39:5
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 48 of 50
                                                                            48


    percent [12] - 10:2,       Powers [1] - 41:18        progressing [1] - 27:1     readmitted [1] - 18:2       reminds [1] - 36:2
     10:4, 11:25, 12:7,        POWERS [2] - 2:14,        prohibit [1] - 19:10       reality [1] - 16:11         rendered [1] - 35:7
     14:12, 14:15, 14:16,       41:19                    prohibited [1] - 38:18     realize [1] - 35:17         rent [4] - 29:15, 29:17,
     14:18, 22:10, 35:20,      practice [3] - 5:25,      promotes [1] - 38:5        realized [1] - 27:15          33:11, 33:12
     39:3, 39:7                 29:3, 33:1               properties [2] - 29:14,    realizing [1] - 40:23       renters [1] - 29:19
    perfect [3] - 12:3,        practicing [2] - 25:2,     33:11                     really [3] - 15:12, 32:9,   rents [1] - 29:13
     14:20, 28:7                32:20                    property [1] - 23:4         32:13                      report [4] - 4:4, 4:7,
    period [3] - 16:10,        pray [1] - 30:22          prosecute [1] - 39:25      reason [3] - 10:18,           4:12, 4:15
     39:1, 40:2                precise [2] - 9:22,       protected [1] - 27:23       10:19, 12:16               REPORTED [1] - 2:14
    permission [1] - 39:13      10:5                     proven [1] - 14:8          reasonable [1] - 37:8       Reporter [1] - 2:14
    person [4] - 31:23,        preclude [1] - 32:1       provide [3] - 6:23,        reasonably [2] - 13:7,      represent [1] - 40:1
     31:24, 32:10              prescribed [4] - 5:21,     27:10, 39:10               14:5                       reputation [1] - 12:15
    personal [2] - 5:15,        5:22, 6:10, 6:13         provided [3] - 6:16,       REBECCA [1] - 2:10          request [2] - 23:25,
     16:5                      prescribing [1] - 6:7      11:7, 30:10               receipt [1] - 5:14            39:18
    personally [2] - 26:6,     prescription [2] -        providing [1] - 29:5       receive [4] - 16:7,         requested [1] - 24:14
     27:3                       5:20, 5:23               province [1] - 6:25         32:12, 35:14, 36:17        requests [1] - 24:14
    persons [1] - 29:21        prescriptions [1] -       psychiatrist [1] - 29:2    received [1] - 4:4          require [1] - 18:3
    persuasive [1] - 40:23      9:18                     public [2] - 32:20,        recently [1] - 29:15        required [1] - 23:2
    pertinent [1] - 13:25      present [3] - 8:17,        33:2                      recess [1] - 41:2           requisitions [1] - 17:9
    PH [1] - 2:4                21:9, 26:5               PUGLISI [31] - 2:2,        recidivism [1] - 37:10      residences [1] - 29:13
    phase [1] - 34:10          presentation [1] -         3:12, 3:18, 3:22,         recognize [1] - 27:4        resources [1] - 36:10
    phonetic [1] - 35:15        11:1                      4:10, 4:24, 5:2, 5:19,    recollection [1] -          respect [13] - 5:6, 6:8,
    physician [1] - 6:24       presented [8] - 7:5,       6:12, 6:16, 6:19,          23:20                        6:25, 9:2, 9:17, 15:9,
    physicians [1] - 12:15      7:11, 8:5, 11:5, 18:4,    6:22, 7:3, 7:19, 8:3,     recommend [2] -               21:13, 21:20, 28:21,
    piece [1] - 8:7             21:7, 32:5, 35:8          8:15, 8:19, 8:25, 9:6,     35:22, 40:22                 30:18, 31:13, 38:5
    pill [1] - 37:23           presentence [4] - 4:4,     15:8, 15:22, 21:4,        recommendation [2] -        respected [1] - 12:13
    Pinkerton [1] - 13:5        4:7, 4:11, 4:14           21:12, 21:18, 22:1,        40:20, 40:23               response [2] - 7:13,
    place [5] - 19:24, 20:8,   presiding [1] - 3:4        22:4, 24:18, 24:21,       recommended [1] -             23:22
     31:1, 33:18, 38:14        presumably [1] -           31:8, 40:13, 40:20         10:1                       responsibility [2] -
    placed [1] - 27:14          14:12                    Puglisi [9] - 2:3, 3:13,   record [2] - 3:8, 9:23        18:19, 26:18
    places [1] - 11:3          previously [1] - 40:15     4:9, 4:23, 15:7,          recruiter [1] - 35:15       responsible [4] -
    PLAINTIFF [1] - 1:5        price [1] - 29:15          17:17, 21:3, 22:16,       reduced [1] - 10:1            13:22, 14:19, 14:25,
    plans [1] - 8:21           principally [2] - 20:7,    40:12                     reduction [10] - 16:21,       15:14
    plea [1] - 16:24            20:15                    purpose [1] - 29:9          18:16, 18:25, 21:1,        restitution [8] - 24:2,
    pleadings [1] - 31:8       principle [1] - 19:11     purview [1] - 14:19         35:13, 35:17, 35:20,         24:4, 24:7, 24:9,
    pleasures [1] - 25:21      prison [5] - 32:21,       push [1] - 37:24            35:24                        24:12, 24:14, 38:22,
    plus [4] - 11:10, 15:21,    38:12, 38:14, 39:2,      put [5] - 17:10, 24:5,     refer [1] - 27:25             38:25
     20:12, 20:13               39:6                      26:17, 27:6, 35:1         referrals [2] - 8:15,       return [1] - 29:12
    point [12] - 9:11, 10:6,   Prisons [1] - 40:24       putting [1] - 10:9          21:6                       review [1] - 4:6
     10:21, 10:22, 11:14,      private [3] - 24:13,                                 refuses [1] - 29:17         reviewed [2] - 4:5,
     11:15, 11:22, 12:7,        27:20, 33:1                         Q               regard [1] - 14:23            8:22
     14:24, 19:3, 20:16,       pro [1] - 29:5                                       regards [1] - 22:19         revolved [1] - 25:16
     31:25                     probation [4] - 16:22,    qua [1] - 20:4             regimen [1] - 20:21         rich [1] - 34:7
    pointed [1] - 23:14         21:21, 39:11, 39:14      quantities [1] - 5:23      regularly [1] - 29:4        Rights [1] - 24:9
    points [1] - 20:18         PROBATION [1] - 2:10      quarter [1] - 39:5         regulars [1] - 30:9         rise [2] - 3:2, 41:4
    Port [1] - 25:2            proceed [1] - 3:23        questions [1] - 30:12      relation [1] - 28:1         risk [1] - 34:5
    position [10] - 5:4,       Proceedings [1] -                                    relationship [3] - 28:3,    role [18] - 15:12,
     7:10, 16:20, 22:5,         41:5                                R                28:6, 28:15                  15:20, 16:20, 16:22,
     22:18, 23:2, 24:2,        proceedings [2] -                                    release [7] - 38:14,          18:7, 18:9, 18:13,
     24:3, 24:6, 34:11          6:21, 41:15              raise [3] - 29:16,                                       18:16, 18:23, 18:25,
                                                                                     38:15, 38:17, 38:21,
    possess [1] - 38:19        proceeds [2] - 5:14,       29:17, 33:5                                             19:18, 19:20, 20:9,
                                                                                     39:1, 39:6, 39:10
    possessing [1] -            5:15                     raised [1] - 29:15                                       20:14, 20:19, 21:1,
                                                                                    relevant [1] - 14:2
     38:18                     process [2] - 28:9,       Rakoff [1] - 36:16                                       35:13, 35:21
                                                                                    reliable [2] - 12:3,
    possible [2] - 34:25,       30:16                    range [1] - 22:2                                       roles [1] - 15:25
                                                                                     12:6
     37:22                     professional [3] -        rapidly [1] - 27:1                                     room [2] - 27:14,
                                                                                    relied [1] - 12:15
    post [1] - 13:18            25:12, 26:7, 28:20       rarity [1] - 28:11                                       35:10
                                                                                    Relief [1] - 2:14
    post-judgment [1] -        professionals [1] -       rather [2] - 7:24, 31:24                               roughly [1] - 10:2
                                                                                    relief [1] - 13:18
     13:18                      36:8                     read [3] - 4:11, 6:20,                                 RPR [2] - 2:14, 41:19
                                                                                    religious [1] - 30:8
    power [3] - 19:9, 20:9,    programs [2] - 5:11,       32:8                                                  ruin [1] - 36:10
                                                                                    relinquish [1] - 39:18
     31:15                      5:13                     readily [1] - 34:21                                    ruined [1] - 35:6
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 49 of 50
                                                                            49


    rule [1] - 18:11           score [1] - 15:4          showcasing [1] - 28:3        6:5, 16:3, 22:21          supervised [5] -
    ruled [2] - 21:12,         seated [1] - 3:5          showed [3] - 6:5,           spending [1] - 25:16        38:15, 38:17, 38:21,
     21:19                     secondly [1] - 33:14       32:10, 34:20               spends [1] - 30:1           39:1, 39:10
    rules [1] - 22:22          Section [2] - 1:19,       shuffle [1] - 36:6          spent [1] - 25:12          support [3] - 27:24,
    rulings [2] - 9:8, 40:16    37:7                     Sianna [1] - 25:4           standard [1] - 38:20        28:8, 37:19
    run [2] - 38:13, 38:15     sector [1] - 33:2         sign [2] - 7:7, 35:2        standing [2] - 17:10,      supported [1] - 26:6
    running [1] - 3:15         see [7] - 25:18, 28:5,    signature [1] - 10:10        28:11                     supposed [1] - 19:18
                                29:1, 30:24, 31:22,      signed [3] - 7:12,          start [1] - 4:25           supreme [1] - 28:2
               S                32:9, 32:17               11:7, 17:9                 starting [8] - 9:11,       susceptible [1] - 38:2
                               seeking [3] - 23:4,       significant [1] - 34:15      10:6, 10:21, 10:22,       sustain [4] - 4:21,
    S.W [1] - 2:7               23:13, 36:10             significantly [3] -          11:14, 11:22, 12:7,        8:18, 18:24, 21:11
    s/Glenda [1] - 41:18       seize [1] - 23:4           11:24, 14:6, 15:11          14:23                     system [4] - 31:13,
    sabrina [1] - 3:13         self [1] - 39:21          signing [1] - 17:8          state [3] - 20:3, 32:19,    32:19, 32:21, 32:22
    SABRINA [1] - 2:2          self-employment [1] -     similarly [3] - 6:12,        32:21
    salary [1] - 22:8           39:21                     26:25, 37:15               State [1] - 17:6                      T
    salt [1] - 30:1            selfless [1] - 25:11      simple [2] - 25:21,         STATES [3] - 1:1, 1:4,
    samples [2] - 7:20,        sell [1] - 36:4            31:24                       1:14                      talks [2] - 12:25, 16:3
     7:25                      sense [3] - 19:15,        simply [2] - 19:24,         States [7] - 2:15, 3:3,    task [1] - 27:5
    Santeiro [52] - 3:7,        25:15, 29:12              36:6                        3:7, 3:11, 21:9, 37:7,    taught [2] - 25:13,
     3:14, 4:11, 4:18, 5:3,    sentence [19] - 12:2,     sina [1] - 20:4              41:20                       28:2
     5:9, 6:3, 6:23, 7:5,       24:17, 24:20, 31:16,     single [2] - 12:4, 20:1     states [1] - 4:17          technician [1] - 27:18
     7:13, 7:23, 7:25,          33:23, 34:1, 35:22,      sister [1] - 27:15          Stein [1] - 12:25          temptation [1] - 38:2
     8:12, 8:20, 10:9,          36:1, 36:7, 36:12,       situated [1] - 37:15        STENOGRAPHICAL             terms [2] - 10:14,
     10:13, 10:20, 10:24,       37:8, 37:16, 38:5,       situation [3] - 16:15,       LY [1] - 2:13               20:10
     11:2, 11:8, 12:9,          38:10, 38:11, 39:23,      18:17, 18:18               steps [1] - 14:10          tested [1] - 18:1
     12:18, 12:19, 12:23,       40:8, 40:17, 40:21       six [1] - 25:3              still [5] - 5:4, 15:23,    testified [2] - 12:12,
     13:11, 14:7, 15:13,       sentenced [1] - 38:12     six-month [1] - 25:3         19:20, 28:5, 32:10          12:17
     16:8, 17:9, 17:14,        sentences [3] - 33:24,    skill [8] - 15:10, 15:11,   stolen [1] - 35:5          testify [1] - 33:17
     17:17, 17:19, 17:22,       37:13, 37:17              16:23, 18:12, 18:24,       Street [2] - 2:4, 2:7      testimony [1] - 7:8
     17:23, 20:13, 20:17,      sentencing [13] - 4:3,     19:1, 19:7, 21:2           strife [1] - 28:9          testing [1] - 17:11
     21:6, 21:15, 24:19,        10:25, 11:6, 16:25,      skills [1] - 18:7           strive [1] - 30:13         THE [66] - 1:14, 1:18,
     24:23, 25:1, 25:9,         18:4, 23:25, 30:23,      society [2] - 31:1, 34:5    strong [3] - 25:10,          2:2, 3:5, 3:17, 3:21,
     31:23, 34:2, 35:16,        32:6, 34:10, 36:19,      solely [1] - 30:6            25:15, 28:11                3:24, 4:9, 4:11, 4:13,
     37:9, 37:19, 38:4,         37:6, 37:22, 40:6                                    strongly [1] - 5:5           4:14, 4:21, 5:1, 5:18,
                                                         solicit [1] - 39:12
     38:12, 39:22, 40:19,      SENTENCING [1] -                                      student [1] - 26:12          6:11, 6:17, 7:2, 7:10,
                                                         solid [1] - 30:11
     41:1                       1:12                                                                              7:18, 8:2, 8:14, 8:18,
                                                         someone [3] - 18:19,        studies [1] - 30:10
    SANTEIRO [3] - 1:7,        separate [3] - 18:15,                                                              8:24, 9:5, 9:7, 11:13,
                                                          19:17, 19:23               submission [3] - 5:10,
     24:25, 31:7                23:17, 23:21                                                                      11:18, 11:21, 13:16,
                                                         sometimes [3] -              5:12, 8:22
    Santeiro's [10] - 3:24,    serve [1] - 40:21                                                                  13:23, 14:25, 15:4,
                                                          18:20, 32:23, 38:1         submit [1] - 11:9
     7:21, 10:7, 12:9,         service [1] - 29:8                                                                 15:7, 15:19, 16:19,
                                                         somewhat [1] - 16:16        submitted [2] - 8:7,
     13:22, 14:17, 17:15,      services [3] - 8:8,                                                                18:6, 18:11, 18:18,
                                                         son [1] - 25:11              8:21
     19:25, 22:22, 25:1         8:23, 14:13                                                                       19:16, 20:24, 21:8,
                                                         sorry [2] - 3:15, 22:14     submitting [1] - 5:10
    sat [1] - 33:15            serving [1] - 16:14                                                                21:11, 21:17, 21:23,
                                                         sort [1] - 9:19             subsequent [1] -
    satisfy [1] - 38:7         set [4] - 12:6, 36:21,                                                             22:2, 22:5, 22:13,
                                                         soulmates [1] - 28:13        34:16
    SAVDIE [1] - 1:22           36:24, 37:4                                                                       22:15, 22:24, 23:5,
                                                         SOUTHERN [1] - 1:1          subsets [1] - 12:22
    Savdie [1] - 3:10          several [4] - 7:12,                                                                23:10, 23:20, 24:6,
                                                         Southern [2] - 3:3,         substances [1] -
    saw [4] - 17:24, 31:8,      18:4, 29:13, 38:22                                                                24:12, 24:16, 24:19,
                                                          36:16                       38:20
     31:22, 32:13              severe [1] - 27:3                                                                  24:24, 31:6, 34:2,
                                                         spark [1] - 28:5            substantial [2] -
    schedule [1] - 39:9        severely [1] - 32:23                                                               34:3, 34:11, 36:12,
                                                         spear [1] - 25:22            31:20, 35:13
    Scheduled [1] - 1:8        severity [2] - 34:18,                                                              37:5, 40:12, 40:16,
                                                         special [14] - 15:10,       substantive [2] - 7:15,
    scheme [12] - 16:7,         35:11                                                                             40:22
                                                          16:23, 18:7, 18:12,         10:13
     16:13, 17:3, 17:24,       shall [4] - 38:17,                                                               themselves [1] - 26:17
                                                          18:23, 19:1, 19:7,         substitute [1] - 23:12
     19:12, 20:20, 33:19,       38:18, 38:19, 38:20                                                             theories [1] - 12:25
                                                          20:20, 21:2, 31:4,         successful [1] - 30:19
     34:22, 34:23, 34:25,      share [2] - 28:16, 30:5                                                          theory [3] - 10:11,
                                                          38:21, 38:24, 38:25        suddenly [1] - 6:4
     35:21                     shield [1] - 13:14                                                                 10:12, 14:15
                                                         specialties [1] - 35:1      suffering [1] - 32:15
    schemes [4] - 32:16,       shining [1] - 30:7                                                               therapy [5] - 7:4, 7:6,
                                                         specific [5] - 12:2,        sufficient [2] - 31:20,
     35:4, 36:5, 36:9          shocking [1] - 33:16                                                               7:7, 7:8, 7:17
                                                          12:3, 12:5, 23:14,          37:8
    school [2] - 26:8,         short [1] - 26:3                                                                 therefore [2] - 20:8,
                                                          23:15                      Suite [1] - 2:7
     27:21                     shortly [1] - 3:16                                                                 35:22
                                                         specifically [4] - 5:9,     summarize [1] - 25:7
    scope [1] - 16:6           show [2] - 7:22, 24:16                                                           three [3] - 10:22,
Case 0:21-cr-60020-WPD Document 852 Entered on FLSD Docket 11/02/2023 Page 50 of 50
                                                                            50


      11:15, 38:14                                        6:16, 6:19, 6:22, 7:3,     worth [1] - 40:25
                                          U
    three-and-a-half [1] -                                7:19, 8:3, 8:15, 8:19,     wow [1] - 32:8
      11:15                    U.S [3] - 1:19, 1:23,      8:25, 9:6, 15:8,           write [1] - 32:7
    throughout [3] - 11:5,      2:10                      15:22, 21:4, 21:12,        written [3] - 32:6,
      26:6, 30:9               ultimately [1] - 13:4      21:18, 22:1, 22:4,          39:13, 39:20
    Thursday [1] - 1:6         uncles [1] - 25:17         24:18, 24:21, 31:8,        wrote [1] - 32:4
    today [7] - 24:14, 25:5,   uncomfortable [1] -        40:13, 40:20
      25:18, 25:24, 31:3,       29:1                     VORA-PUGLISI [31] -                     Y
      31:6, 41:2               under [8] - 16:4, 16:7,    2:2, 3:12, 3:18, 3:22,
    together [1] - 28:11        18:22, 19:17, 22:22,      4:10, 4:24, 5:2, 5:19,     year [1] - 16:10
    toll [1] - 32:25            24:8, 30:24               6:12, 6:16, 6:19,          years [13] - 12:14,
    tone [1] - 29:16           underprivileged [1] -      6:22, 7:3, 7:19, 8:3,       26:15, 27:1, 27:8,
    took [6] - 16:18,           29:6                      8:15, 8:19, 8:25, 9:6,      28:5, 28:20, 31:10,
      22:10, 26:25, 27:9,      understood [1] -           15:8, 15:22, 21:4,          33:2, 33:6, 34:3,
      27:13, 36:25              33:19                     21:12, 21:18, 22:1,         34:4, 34:6, 38:15
    top [1] - 35:24            unforeseeable [1] -        22:4, 24:18, 24:21,        yesterday [2] - 11:23,
    total [1] - 11:10           13:14                     31:8, 40:13, 40:20          12:24
    tough [1] - 32:25          Unicore [2] - 39:2,       VS [1] - 1:6                York [2] - 1:20, 36:16
    towards [5] - 28:4,         39:4                     vulnerable [1] - 21:16      young [1] - 27:22
      29:8, 39:3, 39:5,        United [7] - 2:15, 3:3,
      39:7                      3:7, 3:11, 21:9, 37:7,              W                            Z
    transcription [1] -         41:20
      41:14                    UNITED [3] - 1:1, 1:4,    wages [1] - 39:3            zero [1] - 20:13
    travel [1] - 32:1           1:14                     wait [1] - 3:17
    treat [1] - 27:14          units [1] - 29:14         waive [1] - 22:24
    treated [2] - 28:21,       unity [1] - 25:24         waived [1] - 23:1
      28:23                    University [1] - 26:8     waiver [1] - 40:3
    treating [1] - 32:24       unlawfully [1] - 5:9      WAR [8] - 6:24, 9:14,
    treatment [4] - 11:7,      unless [1] - 39:8          10:8, 10:19, 11:3,
      35:3, 35:6, 36:11                                   17:7, 22:9, 36:3
                               unnecessary [1] - 8:1
    treatments [1] - 35:8                                Washington [1] - 1:21
                               unpaid [1] - 38:25
    trial [15] - 3:21, 7:5,                              watched [1] - 28:23
                               up [8] - 10:10, 12:22,
      8:6, 8:12, 8:17, 11:6,    14:2, 18:15, 21:23,      watching [1] - 25:21
      18:5, 21:7, 21:10,        30:18, 37:7, 38:9        ways [3] - 17:14,
      22:25, 23:1, 23:16,      uphold [1] - 30:13         17:15, 17:23
      23:22, 31:11, 33:16      urinalyses [1] - 9:18     wealth [1] - 29:24
    trials [2] - 12:8, 34:15   urine [2] - 7:20, 7:25    weeks [1] - 34:14
    tried [1] - 29:4           utilize [1] - 38:3        weigh [2] - 36:1, 38:8
    trouble [1] - 34:4         utilizing [1] - 37:21     weighing [1] - 37:2
    true [2] - 6:4, 28:13      utmost [1] - 26:21        weight [1] - 37:18
    trust [1] - 12:20                                    welcomed [1] - 26:10
                                                         wheel [1] - 13:12
    trusted [1] - 12:19                   V              whole [1] - 32:8
    try [2] - 25:7, 37:15
    Tuft's [1] - 26:8          value [1] - 29:17         wholly [1] - 29:6
    two [17] - 6:1, 7:15,      values [3] - 25:16,       wife [1] - 28:16
      11:3, 11:7, 11:14,        28:2, 29:7               WILLIAM [1] - 1:14
      12:8, 12:25, 16:1,       variance [3] - 4:24,      William [1] - 3:4
      18:25, 20:18, 21:1,       13:25, 31:20             willing [3] - 35:1, 35:2,
      22:22, 26:1, 28:11,      verdict [4] - 13:8,        36:4
      31:19, 34:14              13:10, 23:11, 23:18      willingly [1] - 26:12
    two-level [2] - 18:25,     versus [1] - 3:7          wind [1] - 21:23
      21:1                     veterans [1] - 29:5       wire [2] - 4:1, 5:12
    twofold [1] - 22:18        via [1] - 5:11            wish [1] - 25:8
    type [7] - 17:1, 20:20,    victim [3] - 21:16,       witness [3] - 7:8, 26:2,
      31:22, 32:10, 32:22,      35:16                     33:17
      35:1                     Victim's [1] - 24:9       witnesses [1] - 7:9
    types [2] - 36:5, 37:21    visit [1] - 26:22         workers [1] - 30:2
    typo [1] - 4:17            VORA [31] - 2:2, 3:12,    works [1] - 39:2
                                3:18, 3:22, 4:10,        world [1] - 26:4
                                4:24, 5:2, 5:19, 6:12,   worries [1] - 29:18
